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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


    In re Grand Canyon Education, Inc. Securities Civil Action No. 20-639-JLH-CJB
    Litigation



           [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT
          AND AUTHORIZING DISSEMINATION OF NOTICE OF SETTLEMENT

          WHEREAS, a consolidated securities class action is pending in this Court entitled In re

   Grand Canyon Education, Inc. Securities Litigation, Civil Action No. 20-639-JLH-CJB (the

   “Action”);

          WHEREAS, (a) Lead Plaintiffs Fire and Police Pension Association of Colorado, Oakland

   County Employees’ Retirement System, and Oakland County Voluntary Employees’ Beneficiary

   Association Trust (collectively, “Lead Plaintiffs”), on behalf of themselves and the Settlement

   Class (defined below); and (b) Defendant Grand Canyon Education, Inc. (“Grand Canyon” or the

   “Company”) and Brian E. Mueller and Daniel E. Bachus (collectively, the “Individual

   Defendants,” and together with Grand Canyon, “Defendants,” and, together with Lead Plaintiffs,

   the “Parties”), have determined to settle and dismiss with prejudice all claims asserted in this

   Action on the terms and conditions set forth in the Stipulation and Agreement of Settlement dated

   March 25, 2024 (the “Stipulation”) subject to approval of this Court (the “Settlement”);

          WHEREAS, Lead Plaintiffs have made a motion, pursuant to Rule 23(e)(1) of the Federal

   Rules of Civil Procedure, for an order preliminarily approving the Settlement in accordance with

   the Stipulation and allowing notice to Settlement Class Members as more fully described herein;
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          WHEREAS, the Court has read and considered: (a) Lead Plaintiffs’ motion for preliminary

   approval of the Settlement and authorization to send notice of the Settlement to the Settlement

   Class, and the papers filed and arguments made in connection therewith; and (b) the Stipulation

   and the exhibits attached thereto; and

          WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall

   have the same meanings as they have in the Stipulation;

          NOW THEREFORE, IT IS HEREBY ORDERED:

          1.      Proposed Class Certification for Settlement Purposes – The Parties have

   proposed the certification of the following Settlement Class pursuant to Rule 23(a) and (b)(3) of

   the Federal Rules of Civil Procedure and solely for purposes of effectuating the proposed

   Settlement: all persons and entities who purchased Grand Canyon common stock during the period

   from January 5, 2018 through January 27, 2020, inclusive (the “Class Period”), and who were

   damaged thereby. Excluded from the Settlement Class are: (i) Defendants; (ii) the Immediate

   Family Members of any Individual Defendant; (iii) any person who is, or was during the Class

   Period, an Officer or director of Grand Canyon and any of their Immediate Family Members;

   (iv) any affiliates or subsidiaries of Grand Canyon; (v) any entity in which any Defendant or any

   of their Immediate Family Members has or had a controlling interest; and (vi) the legal

   representatives, heirs, agents, affiliates, successors, or assigns of any such excluded persons and

   entities. Also excluded from the Settlement Class are any persons who exclude themselves by

   submitting a request for exclusion that is accepted by the Court.

          2.      Class Findings – The Court finds, pursuant to Rule 23(e)(1)(B)(ii) of the Federal

   Rules of Civil Procedure, that it will likely be able to certify the Settlement Class for purposes of

   the proposed Settlement. Specifically, and solely for purposes of the proposed Settlement of this




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   Action, the Court finds that each element required for certification of the Settlement Class pursuant

   to Rule 23 of the Federal Rules of Civil Procedure has been met or will likely be met: (a) the

   members of the Settlement Class are so numerous that their joinder in the Action would be

   impracticable; (b) there are questions of law and fact common to the Settlement Class which

   predominate over any individual questions; (c) the claims of Lead Plaintiffs in the Action are

   typical of the claims of the Settlement Class; (d) Lead Plaintiffs and Lead Counsel have and will

   fairly and adequately represent and protect the interests of the Settlement Class; and (e) a class

   action is superior to other available methods for the fair and efficient adjudication of the Action.

          3.      The Court also finds, pursuant to Rule 23(e)(1)(B)(ii) of the Federal Rules of Civil

   Procedure, and for the purposes of the Settlement only, that it will likely be able to certify Lead

   Plaintiffs as Class Representatives for the Settlement Class and appoint Lead Counsel Bernstein

   Litowitz Berger & Grossmann LLP and Barrack, Rodos & Bacine as Class Counsel for the

   Settlement Class pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

          4.      Preliminary Approval of the Settlement – The Court hereby preliminarily

   approves the Settlement, as embodied in the Stipulation, and finds, pursuant to Rule 23(e)(1)(B)(i)

   of the Federal Rules of Civil Procedure, that it will likely be able to finally approve the Settlement

   under Rule 23(e)(2) as being fair, reasonable, and adequate to the Settlement Class, subject to

   further consideration at the Settlement Hearing to be conducted as described below.

          5.      Settlement Hearing – The Court will hold a settlement hearing (the “Settlement

   Hearing”) on _____________________, 2024 at __:__ _.m. in Courtroom 6D of the J. Caleb

   Boggs Federal Building and United States Courthouse, 844 North King Street, Wilmington, DE

   19801-3563, for the following purposes: (a) to determine whether the proposed Settlement on the

   terms and conditions provided for in the Stipulation is fair, reasonable, and adequate to the




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   Settlement Class, and should be finally approved by the Court; (b) to determine whether, for

   purposes of the Settlement only, the Action should be certified as a class action on behalf of the

   Settlement Class, Lead Plaintiffs should be certified as Class Representatives for the Settlement

   Class, and Lead Counsel should be appointed as Class Counsel for the Settlement Class; (c) to

   determine whether a Judgment substantially in the form attached as Exhibit B to the Stipulation

   should be entered dismissing the Action with prejudice against Defendants; (d) to determine

   whether the proposed Plan of Allocation for the proceeds of the Settlement is fair and reasonable

   and should be approved; (e) to determine whether the motion by Lead Counsel for an award of

   attorneys’ fees and payment of Litigation Expenses should be approved; and (f) to consider any

   other matters that may properly be brought before the Court in connection with the Settlement.

   Notice of the Settlement and the Settlement Hearing shall be given to Settlement Class Members

   as set forth in paragraph 7 of this Order.

          6.      The Court may adjourn the Settlement Hearing without further notice to the

   Settlement Class, and may approve the proposed Settlement with such modifications as the Parties

   may agree to, if appropriate, without further notice to the Settlement Class.

          7.      Retention of Claims Administrator and Manner of Giving Notice – Lead

   Counsel are hereby authorized to retain JND Legal Administration (the “Claims Administrator”)

   to supervise and administer the notice procedure in connection with the proposed Settlement as

   well as the processing of Claims as more fully set forth below. Notice of the Settlement and the

   Settlement Hearing shall be given by Lead Counsel as follows:

                  (a)     Not later than five (5) business days after the date of entry of this Order,

   Grand Canyon, at no cost to the Settlement Fund, Lead Counsel, or the Claims Administrator, shall

   provide or cause to be provided to Lead Counsel or the Claims Administrator, in an electronically




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   searchable form, such as Excel, its security lists (consisting of names, mailing addresses, and, if

   available, email addresses) of the purchasers of Grand Canyon common stock during the Class

   Period;

                   (b)    not later than fifteen (15) business days after the date of entry of this Order

   (such date that is fifteen (15) business days after the date of entry of this Order, the “Notice Date”),

   the Claims Administrator shall cause a copy of the Notice and the Claim Form, substantially in the

   forms attached hereto as Exhibits 1 and 2, respectively (the “Notice Packet”), to be mailed by first-

   class mail and/or emailed to potential Settlement Class Members at the addresses set forth in the

   records provided by Grand Canyon or in the records which Grand Canyon caused to be provided,

   or who otherwise may be identified through further reasonable effort;

                   (c)    contemporaneously with the mailing of the Notice Packet, the Claims

   Administrator shall cause copies of the Notice and the Claim Form to be posted on a website to be

   developed for the Settlement;

                   (d)    not later than ten (10) business days after the Notice Date, the Claims

   Administrator shall cause the Summary Notice, substantially in the form attached hereto as Exhibit

   3, to be published once in Investor’s Business Daily and to be transmitted once over the PR

   Newswire; and

                   (e)    not later than seven (7) calendar days prior to the Settlement Hearing, Lead

   Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit or

   declaration, of such mailing and publication.

             8.    Approval of Form and Content of Notice – The Court (a) approves, as to form

   and content, the Notice, the Claim Form, and the Summary Notice, attached hereto as Exhibits 1,

   2, and 3, respectively, and (b) finds that the mailing and distribution of the Notice and Claim Form




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   and the publication of the Summary Notice in the manner and form set forth in paragraph 7 of this

   Order (i) is the best notice practicable under the circumstances; (ii) constitutes notice that is

   reasonably calculated, under the circumstances, to apprise Settlement Class Members of the

   pendency of the Action, of the effect of the proposed Settlement (including the Releases to be

   provided thereunder), of Lead Counsel’s motion for an award of attorneys’ fees and Litigation

   Expenses, of their right to object to the Settlement, the Plan of Allocation, and/or Lead Counsel’s

   motion for attorneys’ fees and Litigation Expenses, of their right to exclude themselves from the

   Settlement Class, and of their right to appear at the Settlement Hearing; (iii) constitutes due,

   adequate, and sufficient notice to all persons and entities entitled to receive notice of the proposed

   Settlement; and (iv) satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure,

   the United States Constitution (including the Due Process Clause), the Private Securities Litigation

   Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules. The

   date and time of the Settlement Hearing shall be included in the Notice and Summary Notice before

   they are mailed and published, respectively.

          9.      Nominee Procedures – Brokers and other nominees who purchased or otherwise

   acquired Grand Canyon common stock during the Class Period for the benefit of another person

   or entity shall: (a) within seven (7) calendar days of receipt of the Notice, request from the Claims

   Administrator sufficient copies of the Notice Packet to forward to all such beneficial owners, and

   within seven (7) calendar days of receipt of those Notice Packets forward them to all such

   beneficial owners; or (b) within seven (7) calendar days of receipt of the Notice, send a list of the

   names, mailing addresses, and, if available, email addresses, of all such beneficial owners to the

   Claims Administrator in which event the Claims Administrator shall promptly mail or email the

   Notice Packet to such beneficial owners. Upon full compliance with this Order, such nominees




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   may seek payment of their reasonable expenses actually incurred in complying with this Order by

   providing the Claims Administrator with proper documentation supporting the expenses for which

   reimbursement is sought.       Such properly documented expenses incurred by nominees in

   compliance with the terms of this Order shall be paid from the Settlement Fund, with any disputes

   as to the reasonableness or documentation of expenses incurred subject to review by the Court.

          10.     CAFA Notice – As provided in the Stipulation, Defendants shall serve the notice

   required under the Class Action Fairness Act, 28 U.S.C. § 1715, et seq. (“CAFA”) no later than

   ten (10) calendar days following the filing of the Stipulation with the Court. Defendants are solely

   responsible for the costs of the CAFA notice and administering the CAFA notice. No later than

   seven (7) calendar days before the Settlement Hearing, Defendants shall cause to be served on

   Lead Counsel and filed with the Court proof, by affidavit or declaration, regarding compliance

   with the notice requirements of CAFA.

          11.     Participation in the Settlement – Settlement Class Members who wish to

   participate in the Settlement and to be eligible to receive a distribution from the Net Settlement

   Fund must complete and submit a Claim Form in accordance with the instructions contained

   therein. Unless the Court orders otherwise, all Claim Forms must be postmarked no later than one

   hundred twenty (120) calendar days after the Notice Date. Notwithstanding the foregoing, Lead

   Counsel may, at their discretion, accept for processing late Claims provided such acceptance does

   not delay the distribution of the Net Settlement Fund to the Settlement Class. By submitting a

   Claim, a person or entity shall be deemed to have submitted to the jurisdiction of the Court with

   respect to his, her, or its Claim and the subject matter of the Settlement.

          12.     Each Claim Form submitted must satisfy the following conditions: (a) it must be

   properly completed, signed, and submitted in a timely manner in accordance with the provisions




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   of the preceding paragraph; (b) it must be accompanied by adequate supporting documentation for

   the transactions and holdings reported therein, in the form of broker confirmation slips, broker

   account statements, an authorized statement from the broker containing the transactional and

   holding information found in a broker confirmation slip or account statement, or such other

   documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the

   person executing the Claim Form is acting in a representative capacity, a certification of his, her,

   or its current authority to act on behalf of the Settlement Class Member must be included in the

   Claim Form to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim

   Form must be complete and contain no material deletions or modifications of any of the printed

   matter contained therein and must be signed under penalty of perjury.

          13.     Any Settlement Class Member that does not timely and validly submit a Claim

   Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have waived

   his, her, or its right to share in the Net Settlement Fund; (b) shall be forever barred from

   participating in any distributions therefrom; (c) shall be bound by the provisions of the Stipulation

   and the Settlement and all proceedings, determinations, orders, and judgments in the Action

   relating thereto, including, without limitation, the Judgment or Alternate Judgment, if applicable,

   and the Releases provided for therein, whether favorable or unfavorable to the Settlement Class;

   and (d) will be barred from commencing, maintaining, or prosecuting any of the Released

   Plaintiffs’ Claims against each and all of the Defendants’ Releasees, as more fully described in the

   Stipulation and Notice. Notwithstanding the foregoing, late Claim Forms may be accepted for

   processing as set forth in paragraph 11 above.

          14.     Exclusion From the Settlement Class – Any member of the Settlement Class who

   wishes to exclude himself, herself, or itself from the Settlement Class must request exclusion in




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   writing within the time and in the manner set forth in the Notice, which shall provide that: (a) any

   such request for exclusion from the Settlement Class must be mailed or delivered such that it is

   received no later than twenty-one (21) calendar days prior to the Settlement Hearing, to: In re

   Grand Canyon Education, Inc. Securities Litigation, EXCLUSIONS, c/o JND Legal

   Administration, P.O. Box 91065, Seattle, WA 98111, and (b) each request for exclusion must

   (i) state the name, address, and telephone number of the person or entity requesting exclusion, and

   in the case of entities, the name and telephone number of the appropriate contact person; (ii) state

   that such person or entity “requests exclusion from the Settlement Class in In re Grand Canyon

   Education, Inc. Securities Litigation, Civil Action No. 20-639-JLH-CJB”; (iii) state the number of

   shares of Grand Canyon common stock that the person or entity requesting exclusion (a) held as

   of the opening of trading on January 5, 2018 and (b) purchased/acquired and/or sold from January

   5, 2018 through January 27, 2020, inclusive, as well as the dates, number of shares, and prices of

   each such purchase/acquisition and sale; and (iv) be signed by the person or entity requesting

   exclusion or an authorized representative. A request for exclusion shall not be effective unless it

   provides all the required information and is received within the time stated above, or is otherwise

   accepted by the Court.

          15.     Any person or entity who or which timely and validly requests exclusion in

   compliance with the terms stated in this Order and is excluded from the Settlement Class shall not

   be a Settlement Class Member, shall not be bound by the terms of the Settlement or any orders or

   judgments in the Action, and shall not receive any payment out of the Net Settlement Fund.

          16.     Any Settlement Class Member who or which does not timely and validly request

   exclusion from the Settlement Class in the manner stated in this Order: (a) shall be deemed to

   have waived his, her, or its right to be excluded from the Settlement Class; (b) shall be forever




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 barred from requesting exclusion from the Settlement Class in this or any other proceeding;

 (c) shall be bound by the provisions of the Stipulation and Settlement and all proceedings,

 determinations, orders, and judgments in the Action, including, but not limited to, the Judgment

 or Alternate Judgment, if applicable, and the Releases provided for therein, whether favorable or

 unfavorable to the Settlement Class; and (d) will be barred from commencing, maintaining, or

 prosecuting any of the Released Plaintiffs’ Claims against any of the Defendants’ Releasees, as

 more fully described in the Stipulation and Notice.

        17.     Appearance and Objections at Settlement Hearing – Any Settlement Class

 Member that does not request exclusion from the Settlement Class may enter an appearance in the

 Action, at his, her, or its own expense, individually or through counsel of his, her, or its own choice,

 by filing with the Court and delivering a notice of appearance to both Lead Counsel and

 Defendants’ Counsel, at the addresses set forth in paragraph 18 below, such that it is received no

 later than twenty-one (21) calendar days prior to the Settlement Hearing, or as the Court may

 otherwise direct. Any Settlement Class Member that does not enter an appearance will be

 represented by Lead Counsel.

        18.     Any Settlement Class Member that does not request exclusion from the Settlement

 Class may file a written objection to the proposed Settlement, the proposed Plan of Allocation,

 and/or Lead Counsel’s motion for attorneys’ fees and Litigation Expenses and appear and show

 cause, if he, she, or it has any cause, why the proposed Settlement, the proposed Plan of Allocation,

 and/or Lead Counsel’s motion for attorneys’ fees and Litigation Expenses should not be approved;

 provided, however, that no Settlement Class Member shall be heard or entitled to contest the

 approval of the terms and conditions of the proposed Settlement, the proposed Plan of Allocation,

 and/or the motion for attorneys’ fees and Litigation Expenses unless that person or entity has filed




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 a written objection with the Court and served copies of such objection on Lead Counsel and

 Defendants’ Counsel at the addresses set forth below such that they are received no later than

 twenty-one (21) calendar days prior to the Settlement Hearing.

                  Lead Counsel                                  Defendants’ Counsel

          Bernstein Litowitz Berger                             Alston & Bird LLP
             & Grossmann LLP                                     John L. Latham
           Katherine M. Sinderson                               Cara M. Peterman
    1251 Avenue of the Americas, 44th Floor                  Timothy J. Fitzmaurice
            New York, NY 10020                                 One Atlantic Center
                                                       1201 West Peachtree Street, Suite 4900
                       -and-                                 Atlanta, GA 30309-3424

           Barrack, Rodos & Bacine                                       -and-
               Jeffrey W. Golan
          3300 Two Commerce Square                             DLA Piper LLP (US)
              2001 Market Street                               Ronald N. Brown, III
            Philadelphia, PA 19103                                 Peter H. Kyle
                                                        1201 North Market Street, Suite 2100
                                                              Wilmington, DE 19801

        19.     Any objections, filings, and other submissions by the objecting Settlement Class

 Member must include: (1) the name of this proceeding, In re Grand Canyon Education, Inc.

 Securities Litigation, Civil Action No. 20-639-JLH-CJB; (2) the objector’s full name, current

 address, email address (if applicable), and telephone number; (3) the objector’s signature; (4) a

 statement providing the specific reasons for the objection, including a detailed statement of the

 specific legal and factual basis for each and every objection and whether the objection applies only

 to the objector, to a specific subset of the Settlement Class, or to the entire Settlement Class; and

 (5) documents sufficient to prove membership in the Settlement Class, including documents

 showing the number of shares of Grand Canyon common stock that the objecting Settlement Class

 Member purchased/acquired and/or sold during the Class Period, as well as the dates, number of

 shares, and prices of each such purchase/acquisition and sale. The documentation establishing




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 membership in the Settlement Class must consist of copies of brokerage confirmation slips or

 monthly brokerage account statements, or an authorized statement from the objector’s broker

 containing the transactional and holding information found in a broker confirmation slip or account

 statement.

        20.     Any Settlement Class Member who wishes to be heard orally at the Settlement

 Hearing in opposition to the approval of the Settlement, the Plan of Allocation, or Lead Counsel’s

 motion for attorneys’ fees and Litigation Expenses must also file a notice of appearance with the

 Court and serve it on Lead Counsel and Defendants’ Counsel at the addresses set forth in paragraph

 18 above so that it is received no later than twenty-one (21) calendar days prior to the Settlement

 Hearing. Objectors who enter an appearance and desire to present evidence at the Settlement

 Hearing in support of their objection must include in their written objection or notice of appearance

 the identity of any witnesses they may call to testify and any exhibits they intend to introduce into

 evidence at the hearing.

        21.     Any Settlement Class Member who or which does not make his, her, or its objection

 in the manner provided herein shall be deemed to have waived his, her, or its right to object to any

 aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s motion

 for attorneys’ fees and Litigation Expenses and shall be forever barred and foreclosed from

 objecting to the fairness, reasonableness, or adequacy of the Settlement, the Plan of Allocation, or

 the requested attorneys’ fees and Litigation Expenses, or from otherwise being heard concerning

 the Settlement, the Plan of Allocation, or the requested attorneys’ fees and Litigation Expenses in

 this or any other proceeding.

        22.     Stay and Temporary Injunction – Until otherwise ordered by the Court, the Court

 stays all proceedings in the Action other than proceedings necessary to carry out or enforce the




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 terms and conditions of the Stipulation. Pending final determination of whether the Settlement

 should be approved, the Court bars and enjoins Lead Plaintiffs, and all other members of the

 Settlement Class, from commencing or prosecuting any and all of the Released Plaintiffs’ Claims

 against each and all of the Defendants’ Releasees.

          23.   Settlement Administration Fees and Expenses – All reasonable costs incurred in

 identifying Settlement Class Members and notifying them of the Settlement as well as in

 administering the Settlement shall be paid as set forth in the Stipulation without further order of

 the Court.

          24.   Settlement Fund – The contents of the Settlement Fund held by The Huntington

 National Bank (which the Court approves as the Escrow Agent) shall be deemed and considered

 to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

 such time as they shall be distributed pursuant to the Stipulation and/or further order(s) of the

 Court.

          25.   Taxes – Lead Counsel are authorized and directed to prepare any tax returns and

 any other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement

 Fund any Taxes owed with respect to the Settlement Fund, and to otherwise perform all obligations

 with respect to Taxes and any reporting or filings in respect thereof without further order of the

 Court in a manner consistent with the provisions of the Stipulation.

          26.   Termination of Settlement – If the Settlement is terminated as provided in the

 Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails

 to occur, this Order shall be vacated and rendered null and void, and shall be of no further force

 and effect, except as otherwise provided by the Stipulation, and this Order shall be without

 prejudice to the rights of Lead Plaintiffs, the other Settlement Class Members, and Defendants,




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 and Lead Plaintiffs and Defendants shall revert to their respective positions in the Action as of

 February 23, 2024, as provided in the Stipulation.

        27.     Use of this Order – Defendants deny any wrongdoing, liability, or violation of law

 or regulation whatsoever, and neither this Order, the Term Sheet, the Stipulation (whether or not

 consummated), including the exhibits thereto and the Plan of Allocation contained therein (or any

 other plan of allocation that may be approved by the Court), the negotiations leading to the

 execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in

 connection with the Term Sheet, the Stipulation, and/or approval of the Settlement (including any

 arguments proffered in connection therewith): (a) shall be offered against any of the Defendants’

 Releasees as evidence of, or construed as, or deemed to be evidence of any presumption,

 concession, or admission by any of the Defendants’ Releasees with respect to the truth of any fact

 alleged by Lead Plaintiffs or the validity of any claim that was or could have been asserted or the

 deficiency of any defense that has been or could have been asserted in this Action or in any other

 litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of any of the

 Defendants’ Releasees, or in any way referred to for any other reason as against any of the

 Defendants’ Releasees, in any arbitration proceeding or other civil, criminal, or administrative

 action or proceeding, other than such proceedings as may be necessary to effectuate the provisions

 of the Stipulation; (b) shall be offered against any of the Plaintiffs’ Releasees as evidence of, or

 construed as, or deemed to be evidence of any presumption, concession, or admission by any of

 the Plaintiffs’ Releasees that any of their claims are without merit, that any of the Defendants’

 Releasees had meritorious defenses, or that damages recoverable under the Complaint would not

 have exceeded the Settlement Amount, or with respect to any liability, negligence, fault, or

 wrongdoing of any kind, or in any way referred to for any other reason as against any of the




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 Plaintiffs’ Releasees, in any arbitration proceeding or other civil, criminal, or administrative action

 or proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

 Stipulation; or (c) shall be construed against any of the Releasees as an admission, concession, or

 presumption that the consideration to be given under the Settlement represents the amount which

 could be or would have been recovered after trial; provided, however, that if the Stipulation is

 approved by the Court, the Parties and the Releasees and their respective counsel may refer to it

 to effectuate the protections from liability granted thereunder or otherwise to enforce the terms of

 the Settlement.

        28.     Supporting Papers – Lead Counsel shall file and serve the opening papers in

 support of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s motion

 for an award of attorneys’ fees and payment of Litigation Expenses no later than thirty-five (35)

 calendar days prior to the Settlement Hearing; and reply papers, if any, shall be filed and served

 no later than seven (7) calendar days prior to the Settlement Hearing.

        29.     Jurisdiction – The Court retains jurisdiction to consider all further applications

 arising out of or connected with the proposed Settlement.

        SO ORDERED this _______ day of ______________, 2024.



                                                 ________________________________________
                                                        The Honorable Jennifer L. Hall
                                                          United States District Judge


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                        Exhibit 1
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                                                                                                 Exhibit 1

                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


    In re Grand Canyon Education, Inc. Securities Civil Action No. 20-639-JLH-CJB
    Litigation



                       NOTICE OF (I) PENDENCY OF CLASS ACTION
              AND PROPOSED SETTLEMENT; (II) SETTLEMENT HEARING; AND
             (III) MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES

             A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by the
above-captioned securities class action (the “Action”) pending in the United States District Court for the
District of Delaware (the “Court”), if you purchased the common stock of Grand Canyon Education, Inc.
(“Grand Canyon” or the “Company”) during the period from January 5, 2018 through January 27, 2020,
inclusive (the “Class Period”), and were damaged thereby.1
NOTICE OF SETTLEMENT: Please also be advised that the Court-appointed Lead Plaintiffs, Fire and Police
Pension Association of Colorado, Oakland County Employees’ Retirement System, and Oakland County
Voluntary Employees’ Beneficiary Association Trust (together, “Lead Plaintiffs”), on behalf of
themselves and the Settlement Class (as defined in ¶ 26 below), have reached a proposed settlement of the
Action for $25,500,000 in cash that, if approved, will resolve all claims in the Action (the “Settlement”).
PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may
have, including the possible receipt of cash from the Settlement. If you are a member of the
Settlement Class, your legal rights will be affected whether or not you act.
If you have any questions about this Notice, the proposed Settlement, or your eligibility to
participate in the Settlement, please DO NOT contact the Court, the Office of the Clerk of the Court,
Grand Canyon, any other Defendants in the Action, or their counsel. All questions should be
directed to Lead Counsel or the Claims Administrator (see ¶ 72 below).
  1.   Description of the Action and the Settlement Class: This Notice relates to a proposed
Settlement of claims in a pending securities class action brought by investors alleging that Grand Canyon
and certain of its executives, Chief Executive Officer Brian E. Mueller and Chief Financial Officer Daniel
E. Bachus (together, the “Individual Defendants”), violated the federal securities laws by making false
and misleading statements during the Class Period regarding the Company’s 2018 sale of Grand Canyon
University, a for-profit university it owned and operated, to an entity organized as an Arizona nonprofit
corporation. A more detailed description of the Action is set forth in paragraphs 11-25 below. If the Court

1
  All capitalized terms used in this Notice that are not otherwise defined herein shall have the meanings
ascribed to them in the Stipulation and Agreement of Settlement dated March 25, 2024 (the “Stipulation”),
which is available at www.GrandCanyonSecuritiesLitigation.com.
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approves the proposed Settlement, the Action will be dismissed and members of the Settlement Class
(defined in paragraph 26 below) will settle and release all Released Plaintiffs’ Claims (defined in
paragraph 36 below).
  2.    Statement of the Settlement Class’s Recovery: Subject to Court approval, Lead Plaintiffs, on
behalf of themselves and the Settlement Class, have agreed to settle the Action in exchange for a settlement
payment of $25,500,000 in cash (the “Settlement Amount”) to be deposited into an escrow account. The
Net Settlement Fund (i.e., the Settlement Amount plus any and all interest earned thereon (the “Settlement
Fund”) less (a) any Taxes, (b) any Notice and Administration Costs, (c) any Litigation Expenses awarded
by the Court, (d) any attorneys’ fees awarded by the Court; and (e) any other costs or fees approved by
the Court) will be distributed in accordance with a plan of allocation that is approved by the Court, which
will determine how the Net Settlement Fund shall be allocated among members of the Settlement Class.
The proposed plan of allocation (the “Plan of Allocation”) is attached hereto as Appendix A.
  3.    Estimate of Average Amount of Recovery Per Share: Based on Lead Plaintiffs’ damages
expert’s estimate of the number of shares of Grand Canyon common stock purchased during the Class
Period that may have been affected by the misstatements alleged in the Action and assuming that all
Settlement Class Members elect to participate in the Settlement, the estimated average recovery (before
the deduction of any Court-approved fees, expenses and costs as described herein) is $0.69 per eligible
share. Settlement Class Members should note, however, that the foregoing average recovery per share is
only an estimate. Some Settlement Class Members may recover more or less than this estimated amount
depending on, among other factors, when and at what prices they purchased or sold their Grand Canyon
common stock, and the total number and value of valid Claim Forms submitted. Distributions to
Settlement Class Members will be made based on the Plan of Allocation set forth in Appendix A or such
other plan of allocation as may be ordered by the Court.
  4.    Average Amount of Damages Per Share: The Parties do not agree on the average amount of
damages per share that would be recoverable if Lead Plaintiffs were to prevail in the Action. Among other
things, Defendants do not agree with the assertion that they violated the federal securities laws or that any
damages were suffered by any members of the Settlement Class as a result of their conduct.
  5.    Attorneys’ Fees and Expenses Sought: Plaintiffs’ Counsel, which have been prosecuting the
Action on a wholly contingent basis, have not received any payment of attorneys’ fees for their
representation of the Settlement Class and have advanced the funds to pay expenses necessarily incurred
to prosecute this Action. Court-appointed Lead Counsel, Bernstein Litowitz Berger & Grossmann LLP
and Barrack, Rodos & Bacine, will apply to the Court for an award of attorneys’ fees for all Plaintiffs’
Counsel in an amount not to exceed 23% of the Settlement Fund. In addition, Lead Counsel will apply
for payment of Litigation Expenses incurred in connection with the institution, prosecution, and resolution
of the Action, in an amount not to exceed $600,000, which may include an application for reimbursement
of the reasonable costs and expenses incurred by Lead Plaintiffs directly related to their representation of
the Settlement Class, pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”). Any
fees and expenses awarded by the Court will be paid from the Settlement Fund. Settlement Class Members
are not personally liable for any such fees or expenses. The estimated average cost per affected share of
Grand Canyon common stock, if the Court approves Lead Counsel’s fee and expense application, is $0.17
per share.
6.     Identification of Attorneys’ Representatives: Lead Plaintiffs and the Settlement Class are
represented by Katherine M. Sinderson of Bernstein Litowitz Berger & Grossmann LLP, 1251 Avenue of
the Americas, 44th Floor, New York., NY 10020, (800) 380-8496, settlements@blbglaw.com; and Jeffrey


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W. Golan of Barrack, Rodos & Bacine, 3300 Two Commerce Square, 2001 Market Street, Philadelphia,
PA 19103, (877) 386-3304, settlements@barrack.com.

   7. Reasons for the Settlement: Lead Plaintiffs’ principal reason for entering into the Settlement is
the substantial immediate cash benefit for the Settlement Class without the risk or the delays inherent in
further litigation. Moreover, the substantial cash benefit provided under the Settlement must be
considered against the significant risk that a smaller recovery—or indeed no recovery at all—might be
achieved after further contested motions, a trial of the Action and the likely appeals that would follow a
trial. This process could be expected to last several years. Defendants, who deny all allegations of
wrongdoing or liability whatsoever, are entering into the Settlement solely to eliminate the uncertainty,
burden, and expense of further protracted litigation.

                 YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
    SUBMIT A CLAIM FORM                  This is the only way to be eligible to receive a payment from
    POSTMARKED OR                        the Settlement Fund. If you are a Settlement Class Member
    SUBMITTED ONLINE NO                  and you remain in the Settlement Class, you will be bound by
    LATER THAN _________,                the Settlement as approved by the Court and you will give up
    2024.                                any Released Plaintiffs’ Claims (defined in ¶ 36 below) that
                                         you have against Defendants and the other Defendants’
                                         Releasees (defined in ¶ 37 below), so it is in your interest to
                                         submit a Claim Form.
    EXCLUDE YOURSELF                     If you exclude yourself from the Settlement Class, you will not
    FROM THE SETTLEMENT                  be eligible to receive any payment from the Settlement Fund.
    CLASS BY SUBMITTING A                This is the only option that allows you ever to be part of any
    WRITTEN REQUEST FOR                  other lawsuit against any of the Defendants or the other
    EXCLUSION SO THAT IT                 Defendants’ Releasees concerning the Released Plaintiffs’
    IS RECEIVED NO LATER                 Claims.
    THAN __________, 2024.
    OBJECT TO THE                        If you do not like the proposed Settlement, the proposed Plan
    SETTLEMENT BY                        of Allocation, or the request for attorneys’ fees and Litigation
    SUBMITTING A WRITTEN                 Expenses, you may write to the Court and explain why you do
    OBJECTION SO THAT IT                 not like them. You cannot object to the Settlement, the Plan of
    IS RECEIVED NO LATER                 Allocation, or the fee and expense request unless you are a
    THAN ___________, 2024.              Settlement Class Member and do not exclude yourself from the
                                         Settlement Class.
    GO TO A HEARING ON                   Filing a written objection and notice of intention to appear by
    ___________, 2024 AT __:00           ________, 2024 allows you to speak in Court, at the discretion
    __.M., AND FILE A                    of the Court, about the fairness of the proposed Settlement, the
    NOTICE OF INTENTION                  Plan of Allocation, and/or the request for attorneys’ fees and
    TO APPEAR SO THAT IT                 Litigation Expenses. If you submit a written objection, you
    IS RECEIVED NO LATER                 may (but you do not have to) attend the hearing and, at the
    THAN _________, 2024.                discretion of the Court, speak to the Court about your
                                         objection.




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    DO NOTHING.                          If you are a member of the Settlement Class and you do not
                                         submit a valid Claim Form, you will not be eligible to receive
                                         any payment from the Settlement Fund. You will, however,
                                         remain a member of the Settlement Class, which means that
                                         you give up your right to sue about the claims that are resolved
                                         by the Settlement and you will be bound by any judgments or
                                         orders entered by the Court in the Action.

These rights and options—and the deadlines to exercise them—are further explained in this Notice.
Please Note: the date and time of the Settlement Hearing—currently scheduled for ________, 2024
at __:00 _.m. Eastern Time—is subject to change without further notice to the Settlement Class. If
you plan to attend the hearing, you should check the Settlement website,
GrandCanyonSecuritiesLitigation.com, or with Lead Counsel as set forth above to confirm that no
change to the date and/or time of the hearing has been made.

                                  WHAT THIS NOTICE CONTAINS

Why Did I Get This Notice?                                                                        Page [__]
What Is This Case About?                                                                          Page [__]
How Do I Know If I Am Affected By The Settlement?
  Who Is Included In The Settlement Class?                                                        Page [__]
What Are Lead Plaintiffs’ Reasons For The Settlement?                                             Page [__]
What Might Happen If There Were No Settlement?                                                    Page [__]
How Are Settlement Class Members Affected By The Action
 And The Settlement?                                                                              Page [__]
How Do I Participate In The Settlement? What Do I Need To Do?                                     Page [__]
How Much Will My Payment Be?                                                                      Page [__]
What Payment Are The Attorneys For The Settlement Class Seeking?
  How Will The Lawyers Be Paid?                                                                   Page [__]
What If I Do Not Want To Be A Member Of The Settlement Class?
  How Do I Exclude Myself?                                                                        Page [__]
When And Where Will The Court Decide Whether To Approve The Settlement?
  Do I Have To Come To The Hearing? May I Speak At The Hearing If I
  Don’t Like The Settlement?                                                                      Page [__]
What If I Bought Shares On Someone Else’s Behalf?                                                 Page [__]
Can I See The Court File? Whom Should I Contact If I Have Questions?                              Page [__]
Appendix A: Plan of Allocation of the Net Settlement Fund                                         Page [__]

                                   WHY DID I GET THIS NOTICE?

  8. The Court directed that this Notice be mailed to you because you or someone in your family or an
investment account for which you serve as a custodian may have purchased Grand Canyon common stock
during the Class Period. The Court has directed us to send you this Notice because, as a potential
Settlement Class Member, you have a right to know about your options before the Court rules on the
proposed Settlement. Additionally, you have the right to understand how this class action lawsuit may
generally affect your legal rights. If the Court approves the Settlement, and the Plan of Allocation (or


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some other plan of allocation), the Claims Administrator selected by Lead Plaintiffs and approved by the
Court will make payments pursuant to the Settlement after any objections and appeals are resolved.
   9.    The purpose of this Notice is to inform you of the existence of this case, that it is a class action,
how you might be affected, and how to exclude yourself from the Settlement Class if you wish to do so.
It is also being sent to inform you of the terms of the proposed Settlement, and of a hearing to be held by
the Court to consider the fairness, reasonableness, and adequacy of the Settlement, the proposed Plan of
Allocation, and the motion by Lead Counsel for attorneys’ fees and Litigation Expenses (the “Settlement
Hearing”). See ¶¶ 61-62 below for details about the Settlement Hearing, including the date and location
of the hearing.
  10. The issuance of this Notice is not an expression of any opinion by the Court concerning the merits
of any claim in the Action, and the Court still has to decide whether to approve the Settlement. If the
Court approves the Settlement and a plan of allocation, then payments to Authorized Claimants will be
made after any appeals are resolved and after the completion of all claims processing. Please be patient,
as this process can take some time to complete.

                                    WHAT IS THIS CASE ABOUT?

  11. Grand Canyon is an educational services company incorporated in Delaware. Grand Canyon’s
common stock trades on the NASDAQ under the ticker symbol “LOPE.” This Action involves allegations
that, during the Class Period (from January 5, 2018 through January 27, 2020), Grand Canyon and the
Individual Defendants made material misrepresentations and omissions regarding the Company’s 2018
sale of Grand Canyon University (“GCU”), a for-profit university it owned and operated, to an entity
organized as an Arizona nonprofit corporation. Lead Plaintiffs allege that these misrepresentations and
omissions caused the price of Grand Canyon’s common stock to be inflated during the Class Period, and
that the price declined when the truth was disclosed through a series of disclosures on November 6 and 7,
2019 and January 28, 2020.
  12. On May 12, 2020, The City of Hialeah Employees’ Retirement System filed the first of the related
class actions in the United States District Court for the District of Delaware (the “Court”), alleging
violations of the federal securities laws.
  13. On August 13, 2020, the Court entered an Order appointing Fire and Police Pension Association
of Colorado, Oakland County Employees’ Retirement System, and Oakland County Voluntary
Employees’ Beneficiary Association Trust as Lead Plaintiffs, and approving their selection of Bernstein
Litowitz and Barrack, Rodos & Bacine as Lead Counsel.
  14. On October 20, 2020, Lead Plaintiffs filed the Consolidated Complaint for Violations of the
Federal Securities Laws (“Consolidated Complaint”). The Consolidated Complaint asserted claims on
behalf of all persons and entities who purchased Grand Canyon common stock during the Class Period.
The Consolidated Complaint alleged that Defendants made materially false and misleading statements or
omissions regarding Grand Canyon’s sale of GCU to an entity organized as an Arizona nonprofit
corporation. The Consolidated Complaint asserted claims under Section 10(b) of the Exchange Act, 15
U.S.C. § 78j(b), and SEC Rule 10b-5, 17 C.F.R. § 240.10b-5, promulgated thereunder, against all
Defendants; and claims under Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), against the
Individual Defendants.
  15. On December 21, 2020, Defendants moved to dismiss the Consolidated Complaint, asserting
(among other things) that Lead Plaintiffs failed to sufficiently allege actionable misstatements or


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omissions, that Defendants acted with scienter, or loss causation. The motion to dismiss was fully briefed
and the Court held oral argument on the motion on May 26, 2021.
  16. On August 9, 2021, Magistrate Judge Christopher J. Burke issued a Report and Recommendation
recommending the Court grant Defendants’ motion to dismiss and permit Lead Plaintiffs to file an
amended complaint within 14 days to correct the deficiencies identified. Lead Plaintiffs did not seek
District Court review of Magistrate Judge Burke’s Report and Recommendation and, on August 23, 2021,
the Court adopted the Report and Recommendation.
  17. Lead Plaintiffs filed a Second Amended Consolidated Complaint for Violations of the Federal
Securities Laws (the “Complaint”) on January 21, 2022, which contained new allegations meant to address
the concerns identified by Magistrate Judge Burke.
  18. Defendants filed their motion to dismiss the Complaint on March 15, 2022. The renewed motion
to dismiss was fully briefed and oral argument on the motion was held on October 25, 2022. On February
17, 2023, Magistrate Judge Burke issued a Report and Recommendation to deny Defendants’ motion to
dismiss the Complaint. On March 28, 2023, the Court held oral argument on Defendants’ objections to
the Magistrate Judge Burke’s February 17, 2023 Report and Recommendation, after which the Court
overruled Defendants’ objections and adopted the Report and Recommendation.
  19. Discovery in the Action commenced in April 2023. In response to Lead Plaintiffs’ requests for
production of documents, Defendants produced thousands of documents to Lead Plaintiffs. The Parties
subpoenaed more than ten third parties and received additional documents from them. In addition, the
Parties met and conferred and exchanged numerous letters concerning disputed discovery issues over
several months.
  20. The Parties began exploring the possibility of a settlement in the fall of 2023. The Parties agreed
to engage in private mediation and retained Michelle Yoshida of Phillips ADR Enterprises to act as
mediator in the Action (the “Mediator”). On November 14, 2023, counsel for the Parties participated in
a full-day mediation session before the Mediator. In advance of that session, the Parties exchanged and
submitted detailed confidential mediation statements to the Mediator. The session ended without any
agreement being reached.
  21. On January 5, 2024, Lead Plaintiffs filed their motion for class certification and appointment of
class representatives and class counsel, which was accompanied by a report from Lead Plaintiffs’ expert
on market efficiency and common damages methodologies.
 22. On February 21, 2024, the Parties participated in a second full-day mediation session before the
Mediator. In advance of the mediation session, the Parties again exchanged and submitted confidential
mediation statements to the Mediator. At the conclusion of this second mediation session, the Mediator
made a recommendation that the Action be settled for $25.5 million, which the Parties accepted.
  23. The agreement’s terms were memorialized in a term sheet executed on February 23, 2024 (the
“Term Sheet”). The Term Sheet set forth, among other things, the Parties’ agreement to settle and release
all claims against Defendants and Defendants’ Releasees in the Action in return for a cash payment of
$25,500,000 for the benefit of the Settlement Class, subject to certain terms and conditions and the
execution of a customary “long form” stipulation and agreement of settlement and related papers
  24. On March 25, 2024, the Parties entered into a Stipulation and Agreement of Settlement (the
“Stipulation”), which sets forth the terms and conditions of the Settlement. The Stipulation can be viewed
at GrandCanyonSecuritiesLitigation.com.



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  25. On [__________], 2024, the Court preliminarily approved the Settlement, authorized this Notice
to be disseminated to potential Settlement Class Members, and scheduled the Settlement Hearing to
consider whether to grant final approval to the Settlement.

                HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                    WHO IS INCLUDED IN THE SETTLEMENT CLASS?

  26. If you are a member of the Settlement Class, you are subject to the Settlement, unless you timely
request to be excluded. The Settlement Class consists of:
       all persons and entities who purchased Grand Canyon common stock during the period from
       January 5, 2018 through January 27, 2020, inclusive, and who were damaged thereby.
Excluded from the Settlement Class are: (i) Defendants; (ii) the Immediate Family Members of any
Individual Defendant; (iii) any person who is, or was during the Class Period, an Officer or director of
Grand Canyon and any of their Immediate Family Members; (iv) any affiliates or subsidiaries of Grand
Canyon; (v) any entity in which any Defendant or any of their Immediate Family Members has or had a
controlling interest; and (vi) the legal representatives, heirs, agents, affiliates, successors, or assigns of
any such excluded persons and entities. Also excluded from the Settlement Class are any persons or
entities who or which exclude themselves by submitting a request for exclusion that is accepted by the
Court in accordance with the requirements set forth in this Notice. See “What If I Do Not Want To Be A
Member Of The Settlement Class? How Do I Exclude Myself?,” on page [__] below.
Please Note: Receipt of this Notice does not mean that you are a Settlement Class Member or that
you will be entitled to receive proceeds from the Settlement.
If you are a Settlement Class Member and you wish to be eligible to participate in the distribution
of proceeds from the Settlement, you are required to submit the Claim Form that is being
distributed with this Notice and the required supporting documentation as set forth therein
postmarked (or submitted online) no later than ___________, 2024.

            WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?

   27. Lead Plaintiffs and Lead Counsel believe that the claims asserted against Defendants have merit.
They recognize, however, the very substantial risks they would face in establishing liability and damages
through the Court’s ruling on class certification, summary judgment, pre-trial motions, a trial, and appeals,
as well as the length and expense to the Settlement Class of continued proceedings. The risks of continued
litigation concerned each main element of Lead Plaintiffs’ claims. To start, Lead Plaintiff faced challenges
in proving that Defendants made false statements concerning their accounting treatment of Grand Canyon
University (“GCU”). For example, Defendants contended that their outside auditors and the SEC
reviewed and approved the Company’s accounting treatment of GCU and that, therefore, their statements
regarding Grand Canyon’s separateness or independence from GCU were not false or misleading when
made. Further, Lead Plaintiffs faced challenges in proving scienter—i.e., that Defendants knowingly or
recklessly deceived investors. For example, Defendants argued that their statement that the Department
of Education’s delay in approving the transaction was due to “understaffing” was not false based on
information provided to them by their advisors. There was a meaningful risk that the Court or jury could
find that Defendants lacked scienter on a complete record at summary judgment or trial.



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  28. Lead Plaintiffs faced further risks relating to proof of loss causation and damages. For example,
Defendants argued that the report published by Citron Research on January 28, 2020 (the “Citron Report”),
which accounted for the majority of Lead Plaintiffs’ damages, could not serve as a corrective disclosure
because it did not reveal any new information to the market. There was significant risk that Lead Plaintiffs
would not be able to demonstrate that the Citron Report relied on new facts in its analysis. Additionally,
there was a significant risk that the Court would find that the Citron Report cannot, as a matter of law,
have corrected Defendants’ alleged misrepresentations, and dismiss the second corrective disclosure from
the case. If Defendants had succeeded on their loss causation and damages arguments, the recoverable
damages could have been substantially less than the amount provided in the Settlement.
  29. In light of these and other risks, the amount of the Settlement, and the immediacy of recovery to
the Settlement Class, Lead Plaintiffs and Lead Counsel believe that the proposed Settlement is fair,
reasonable, and adequate, and in the best interests of the Settlement Class. The Settlement provides a
substantial benefit to the Settlement Class, namely $25,500,000 in cash (less the various deductions
described in this Notice), as compared to the risk that the claims in the Action would produce a smaller
recovery, or no recovery at all, after further proceedings on Lead Plaintiffs’ motion for class certification
and likely summary judgment motions, trial, and appeals, possibly years in the future.
  30. Defendants have denied the claims asserted against them in the Action and deny that the Settlement
Class was harmed or suffered any damages as a result of the conduct alleged in the Action. Defendants
have agreed to the Settlement solely to eliminate the burden and expense of continued litigation.
Accordingly, the Settlement may not be construed as an admission of any wrongdoing by Defendants.

                 WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

  31. If there were no Settlement and Lead Plaintiffs failed to establish any essential legal or factual
element of their claims against Defendants, neither Lead Plaintiffs nor the other members of the Settlement
Class would recover anything from Defendants. Also, if Defendants were successful in proving any of
their defenses, either at summary judgment, at trial, or on appeal, the Settlement Class could recover less
than the amount provided in the Settlement, or nothing at all.

                    HOW ARE SETTLEMENT CLASS MEMBERS AFFECTED
                        BY THE ACTION AND THE SETTLEMENT?

  32. As a Settlement Class Member, you are represented by Lead Plaintiffs and Lead Counsel, unless
you enter an appearance through counsel of your own choice at your own expense. You are not required
to retain your own counsel, but if you choose to do so, such counsel must file a notice of appearance on
your behalf and must serve copies of his or her appearance on the attorneys listed in the section entitled,
“When And Where Will The Court Decide Whether To Approve The Settlement?,” on page [__] below.
  33. If you are a Settlement Class Member and do not wish to remain a Settlement Class Member, you
may exclude yourself from the Settlement Class by following the instructions in the section entitled, “What
If I Do Not Want To Be A Member Of The Settlement Class? How Do I Exclude Myself?,” on page [__]
below.
  34. If you are a Settlement Class Member and you wish to object to the Settlement, the Plan of
Allocation, or Lead Counsel’s application for attorneys’ fees and Litigation Expenses, and if you do not
exclude yourself from the Settlement Class, you may present your objections by following the instructions


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in the section entitled, “When And Where Will The Court Decide Whether To Approve The Settlement?,”
on page [__] below.
  35. If you are a Settlement Class Member and you do not exclude yourself from the Settlement Class,
you will be bound by any orders issued by the Court. If the Settlement is approved, the Court will enter
a judgment (the “Judgment”). The Judgment will dismiss with prejudice the claims against Defendants
and will provide that, upon the Effective Date of the Settlement, Lead Plaintiffs and each of the other
Settlement Class Members, on behalf of themselves, and their respective heirs, executors, administrators,
predecessors, successors, and assigns, in their capacities as such, will have fully, finally, and forever
compromised, settled, released, resolved, relinquished, waived, and discharged each and every Released
Plaintiffs’ Claim (as defined in ¶ 36 below) against Defendants and the other Defendants’ Releasees (as
defined in ¶ 37 below), and shall forever be barred and enjoined from prosecuting any or all of the
Released Plaintiffs’ Claims against any of the Defendants’ Releasees.
  36. “Released Plaintiffs’ Claims” means any and all claims and causes of action of every nature and
description, whether arising under federal, state, common, or foreign law, including known claims and
Unknown Claims, that (i) Lead Plaintiffs or any other member of the Settlement Class asserted in the
Complaint or could have asserted in any other forum that arise out of or are based upon the allegations,
transactions, facts, matters or occurrences, representations, or omissions involved, set forth, or referred to
in the Complaint and (ii) relate to the purchase of Grand Canyon common stock during the Class Period.
This release does not cover, include, or release (i) any ERISA claims, (ii) any shareholder derivative
claims asserted on behalf of Grand Canyon; (iii) any claims by any governmental entity that arise out of
any governmental investigation of Defendants relating to the conduct alleged in the Action; or (iv) any
claims relating to the enforcement of the Settlement.
  37. “Defendants’ Releasees” means Defendants and their current and former parents, affiliates,
subsidiaries, officers, directors, agents, successors, predecessors, assigns, assignees, partnerships,
partners, trustees, trusts, employees, Immediate Family Members, insurers, reinsurers, and attorneys.
   38. “Unknown Claims” means any Released Plaintiffs’ Claims which any of the Lead Plaintiffs or any
other Settlement Class Member does not know or suspect to exist in his, her, or its favor at the time of the
release of such claims, and any Released Defendants’ Claims which any Defendant does not know or
suspect to exist in his or its favor at the time of the release of such claims, which, if known by him, her or
it, might have affected his, her or its decision(s) with respect to this Settlement. With respect to any and
all Released Claims, the Parties stipulate and agree that, upon the Effective Date of the Settlement, Lead
Plaintiffs and Defendants shall expressly waive, and each of the Settlement Class Members shall be
deemed to have waived, and by operation of the Judgment shall have expressly waived, any and all
provisions, rights, and benefits conferred by any law of any state or territory of the United States, or
principle of common law or foreign law, which is similar, comparable, or equivalent to California Civil
Code §1542, which provides:
       A general release does not extend to claims that the creditor or releasing party does not
       know or suspect to exist in his or her favor at the time of executing the release and that, if
       known by him or her, would have materially affected his or her settlement with the debtor
       or released party.
Lead Plaintiffs and Defendants acknowledge, and each of the Settlement Class Members shall be deemed
by operation of law to have acknowledged, that the foregoing waiver was separately bargained for and a
key element of the Settlement.



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  39. The Judgment will also provide that, upon the Effective Date of the Settlement, Defendants, on
behalf of themselves, and their respective heirs, executors, administrators, predecessors, successors, and
assigns, in their capacities as such, will have fully, finally, and forever compromised, settled, released,
resolved, relinquished, waived, and discharged each and every Released Defendants’ Claim (as defined
in ¶ 40 below) against Lead Plaintiffs and the other Plaintiffs’ Releasees (as defined in ¶ 41 below), and
shall forever be barred and enjoined from prosecuting any or all of the Released Defendants’ Claims
against any of the Plaintiffs’ Releasees.
  40. “Released Defendants’ Claims” means any and all claims and causes of action of every nature and
description, whether arising under federal, state, common, or foreign law, including known claims and
Unknown Claims, whether arising under federal, state, common, or foreign law, that arise out of or relate
in any way to the institution, prosecution, or settlement of the claims against Defendants in the Action.
This release does not cover, include, or release (i) claims relating to the enforcement of this Stipulation or
the Settlement; or (ii) any claims against any person or entity who or which submits a request for exclusion
that is accepted by the Court.
  41. “Plaintiffs’ Releasees” means Lead Plaintiffs, all other plaintiffs in the Action, and all other
Settlement Class Members, and their respective current and former parents, affiliates, subsidiaries,
officers, directors, agents, successors, predecessors, assigns, assignees, partnerships, partners, trustees,
trusts, employees, Immediate Family Members, insurers, reinsurers, and attorneys.

       HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?

  42. To be eligible for a payment from the Settlement, you must be a member of the Settlement Class
and you must timely complete and return the Claim Form with adequate supporting documentation
postmarked (if mailed), or submitted online at GrandCanyonSecuritiesLitigation.com no later than
_______, 2024. A Claim Form is included with this Notice, or you may obtain one from the website
maintained by the Claims Administrator for the Settlement, GrandCanyonSecuritiesLitigation.com. You
may also request that a Claim Form be mailed to you by calling the Claims Administrator toll-free at 1-
855-208-4129 or by emailing the Claims Administrator at info@GrandCanyonSecuritiesLitigation.com.
Please retain all records of your ownership of and transactions in Grand Canyon common stock, as
they will be needed to document your Claim. The Parties and Claims Administrator do not have
information about your transactions in Grand Canyon common stock.
  43. If you request exclusion from the Settlement Class or do not submit a timely and valid Claim Form,
you will not be eligible to share in the Net Settlement Fund.

                               HOW MUCH WILL MY PAYMENT BE?

 44. At this time, it is not possible to make any determination as to how much any individual Settlement
Class Member may receive from the Settlement.
  45. Pursuant to the Settlement, Defendants have agreed to cause $25,500,000 in cash (the “Settlement
Amount”) to be paid into an escrow account. The Settlement Amount plus any interest earned thereon is
referred to as the “Settlement Fund.” If the Settlement is approved by the Court and the Effective Date
occurs, the “Net Settlement Fund” (that is, the Settlement Fund less (a) all federal, state and/or local taxes
on any income earned by the Settlement Fund and the reasonable costs incurred in connection with
determining the amount of and paying taxes owed by the Settlement Fund (including reasonable expenses
of tax attorneys and accountants); (b) the costs and expenses incurred in connection with providing notice


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to Settlement Class Members and administering the Settlement on behalf of Settlement Class Members;
(c) any attorneys’ fees and Litigation Expenses awarded by the Court; and (d) any other costs or fees
approved by the Court) will be distributed to Settlement Class Members who submit valid Claim Forms,
in accordance with the proposed Plan of Allocation or such other plan of allocation as the Court may
approve.
  46. The Net Settlement Fund will not be distributed unless and until the Court has approved the
Settlement and a plan of allocation, and the time for any petition for rehearing, appeal or review, whether
by certiorari or otherwise, has expired.
  47. Neither Defendants nor any other person or entity that paid any portion of the Settlement Amount
on their behalf are entitled to get back any portion of the Settlement Fund once the Court’s order or
judgment approving the Settlement becomes Final. Defendants shall not have any liability, obligation, or
responsibility for the administration of the Settlement, the disbursement of the Net Settlement Fund, or
the plan of allocation.
  48. Approval of the Settlement is independent from approval of a plan of allocation.                Any
determination with respect to a plan of allocation will not affect the Settlement, if approved.
  49. Unless the Court otherwise orders, any Settlement Class Member who fails to submit a Claim
Form postmarked (or submitted online) on or before _________, 2024 shall be fully and forever barred
from receiving payments pursuant to the Settlement but will in all other respects remain a Settlement Class
Member and be subject to the provisions of the Stipulation, including the terms of any Judgment entered
and the releases given. This means that each Settlement Class Member releases the Released Plaintiffs’
Claims (as defined in ¶ 36 above) against the Defendants’ Releasees (as defined in ¶ 37 above) and will
be enjoined and prohibited from filing, prosecuting, or pursuing any of the Released Plaintiffs’ Claims
against any of the Defendants’ Releasees whether or not such Settlement Class Member submits a Claim
Form.
  50. Participants in and beneficiaries of any employee retirement and/or benefit plan covered by ERISA
(“ERISA Plan”) should NOT include any information relating to shares of Grand Canyon common stock
purchased through the ERISA Plan in any Claim Form they submit in this Action. They should include
ONLY shares of Grand Canyon common stock purchased during the Class Period outside of an ERISA
Plan. Claims based on any ERISA Plan’s purchases of Grand Canyon common stock during the Class
Period may be made by the plan’s trustees.
  51. The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim of
any Settlement Class Member.
  52. Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to
his, her or its Claim Form.
  53. Only Settlement Class Members or persons authorized to submit a claim on their behalf will be
eligible to share in the distribution of the Net Settlement Fund. Persons and entities that are excluded
from the Settlement Class by definition or that exclude themselves from the Settlement Class pursuant to
request will not be eligible to receive a distribution from the Net Settlement Fund and should not submit
Claim Forms. The only security that is included in the Settlement is Grand Canyon common stock.
 54. Appendix A to this Notice sets forth the Plan of Allocation for allocating the Net Settlement
Fund among Authorized Claimants, as proposed by Lead Plaintiffs. At the Settlement Hearing,
Lead Plaintiffs will request that the Court approve the Plan of Allocation. The Court may modify


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the Plan of Allocation, or approve a different plan of allocation, without further notice to the
Settlement Class.

  WHAT PAYMENT ARE THE ATTORNEYS FOR THE SETTLEMENT CLASS SEEKING?
                   HOW WILL THE LAWYERS BE PAID?

  55. Plaintiffs’ Counsel have not received any payment for their services in pursuing claims against the
Defendants on behalf of the Settlement Class, nor have Plaintiffs’ Counsel been reimbursed for their out-
of-pocket expenses. Before final approval of the Settlement, Lead Counsel will apply to the Court for an
award of attorneys’ fees for all Plaintiffs’ Counsel in an amount not to exceed 23% of the Settlement Fund.
At the same time, Lead Counsel also intend to apply for payment of Litigation Expenses in an amount not
to exceed $600,000, which may include an application for reimbursement of the reasonable costs and
expenses incurred by Lead Plaintiffs directly related to their representation of the Settlement Class,
pursuant to the PSLRA. The Court will determine the amount of any award of attorneys’ fees or Litigation
Expenses. Such sums as may be approved by the Court will be paid from the Settlement Fund. Settlement
Class Members are not personally liable for any such fees or expenses.

      WHAT IF I DO NOT WANT TO BE A MEMBER OF THE SETTLEMENT CLASS?
                         HOW DO I EXCLUDE MYSELF?

  56. Each Settlement Class Member will be bound by all determinations and judgments in this lawsuit,
whether favorable or unfavorable, unless such person or entity mails or delivers a written Request for
Exclusion from the Settlement Class, addressed to In re Grand Canyon Education, Inc. Securities
Litigation, EXCLUSIONS, c/o JND Legal Administration, P.O. Box 855-208-4129, Seattle, WA 98111.
The Request for Exclusion must be received no later than __________, 2024. You will not be able to
exclude yourself from the Settlement Class after that date. Each Request for Exclusion must (i) state the
name, address, and telephone number of the person or entity requesting exclusion, and in the case of
entities, the name and telephone number of the appropriate contact person; (ii) state that such person or
entity “requests exclusion from the Settlement Class in In re Grand Canyon Education, Inc. Securities
Litigation, Civil Action No. 20-639-JLH-CJB”; (iii) state the number of shares of Grand Canyon common
stock that the person or entity requesting exclusion (A) owned as of the opening of trading on January 5,
2018 and (B) purchased/acquired and/or sold from January 5, 2018 through January 27, 2020, inclusive,
as well as the date, number of shares, and prices of each such purchase/acquisition and sale; and (iv) be
signed by the person or entity requesting exclusion or an authorized representative. A Request for
Exclusion shall not be effective unless it provides all the information called for in this paragraph and is
received within the time stated above, or is otherwise accepted by the Court.
  57. If you do not want to be part of the Settlement Class, you must follow these instructions for
exclusion even if you have pending, or later file, another lawsuit, arbitration, or other proceeding relating
to any Released Plaintiffs’ Claim against any of the Defendants’ Releasees.
  58. If you ask to be excluded from the Settlement Class, you will not be eligible to receive any payment
out of the Net Settlement Fund.
  59. Defendants have the right to terminate the Settlement if valid requests for exclusion are received
from persons and entities entitled to be members of the Settlement Class in an amount that exceeds an
amount agreed to by Lead Plaintiffs and Defendants.



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     WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
            SETTLEMENT? DO I HAVE TO COME TO THE HEARING?
       MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE SETTLEMENT?

  60. Settlement Class Members do not need to attend the Settlement Hearing. The Court will
consider any submission made in accordance with the provisions below even if a Settlement Class
Member does not attend the hearing. You can participate in the Settlement without attending the
Settlement Hearing.
  61. Please Note: The date and time of the Settlement Hearing may change without further written
notice to the Settlement Class. The Court may decide to allow Settlement Class Members to appear at the
hearing by phone, without further written notice to the Settlement Class. In order to determine whether
the date and time of the Settlement Hearing have changed, or whether Settlement Class Members
may participate by phone or video, it is important that you monitor the Court’s docket and the
Settlement website, GrandCanyonSecuritiesLitigation.com, before making any plans to attend the
Settlement Hearing. Any updates regarding the Settlement Hearing, including any changes to the
date or time of the hearing or updates regarding in-person or remote appearances at the hearing,
will be posted to the Settlement website, GrandCanyonSecuritiesLitigation.com. If the Court allows
Settlement Class Members to participate in the Settlement Hearing by telephone or video
conference, the information for accessing the telephone or video conference will be posted to the
Settlement website, GrandCanyonSecuritiesLitigation.com.
  62. The Settlement Hearing will be held on ___________, 2024 at __:00 _.m., before the Honorable
Jennifer L. Hall of the United States District Court for the District of Delaware, in Courtroom 6D of the
J. Caleb Boggs Federal Building and United States Courthouse, 844 North King Street, Wilmington, DE
19801. At the Settlement Hearing, the Court will consider: (a) whether the proposed Settlement is fair,
reasonable, and adequate to the Settlement Class, and should be finally approved; (b) whether a Judgment
substantially in the form attached as Exhibit B to the Stipulation should be entered dismissing the Action
with prejudice against Defendants; (c) whether the Settlement Class should be certified for purposes of
the Settlement; (d) whether the proposed Plan of Allocation for the proceeds of the Settlement is fair and
reasonable and should be approved; (e) whether the motion by Lead Counsel for attorneys’ fees and
Litigation Expenses should be approved; and (f) other matters that may properly be brought before the
Court in connection with the Settlement. The Court reserves the right to approve the Settlement, the Plan
of Allocation, Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses, and/or any
other matter related to the Settlement at or after the Settlement Hearing without further notice to the
members of the Settlement Class.
  63. Any Settlement Class Member that does not request exclusion may object to the Settlement, the
proposed Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and Litigation
Expenses. Objections must be in writing. You must file any written objection, together with copies of all
other papers and briefs supporting the objection, electronically with the Court or by letter mailed to the
Clerk’s Office at the United States District Court for the District of Delaware, at the address set forth
below on or before ________, 2024. You must also serve the papers on Lead Counsel and on Defendants’
Counsel at the addresses set forth below so that the papers are received on or before ________, 2024.




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          Clerk’s Office                         Lead Counsel                      Defendants’ Counsel

   United States District Court           Bernstein Litowitz Berger                Alston & Bird LLP
      District of Delaware                   & Grossmann LLP                         John L. Latham
       Clerk of the Court                   Katherine M. Sinderson                  Cara M. Peterman
     844 North King Street               1251 Avenue of the Americas,             Timothy J. Fitzmaurice
    Wilmington, DE 19801                          44th Floor                       One Atlantic Center
                                            New York, NY 10020                  1201 West Peachtree Street,
                                                                                        Suite 4900
                                                      -and-                      Atlanta, GA 30309-3424

                                          Barrack, Rodos & Bacine                          -and-
                                              Jeffrey W. Golan
                                         3300 Two Commerce Square                  DLA Piper LLP (US)
                                             2001 Market Street                    Ronald N. Brown, III
                                           Philadelphia, PA 19103                     Peter H. Kyle
                                                                                 1201 North Market Street,
                                                                                       Suite 2100
                                                                                  Wilmington, DE 19801


  64. Any objection must include (a) the name of this proceeding, In re Grand Canyon Education, Inc.
Securities Litigation, Civil Action No. 20-639-JLH-CJB; (b) the objector’s full name, current address,
email address (if applicable), and telephone number; (c) the objector’s signature; (d) a statement providing
the specific reasons for the objection, including a detailed statement of the specific legal and factual basis
for each and every objection and whether the objection applies only to the objector, to a specific subset of
the Settlement Class, or to the entire Settlement Class; and (e) documents sufficient to prove membership
in the Settlement Class, including documents showing the number of shares of Grand Canyon common
stock that the objecting Settlement Class Member purchased/acquired and/or sold from January 5, 2018
through January 27, 2020, inclusive, as well as the date, number of shares, and prices of each such
purchase/acquisition and sale. The documentation establishing membership in the Settlement Class must
consist of copies of brokerage confirmation slips or monthly brokerage account statements, or an
authorized statement from the objector’s broker containing the transactional and holding information
found in a broker confirmation slip or account statement.
  65. You may not object to the Settlement, the Plan of Allocation, or Lead Counsel’s motion for
attorneys’ fees and Litigation Expenses if you exclude yourself from the Settlement Class or if you are
not a member of the Settlement Class.
  66. You may file a written objection without having to appear at the Settlement Hearing. You may
not, however, appear at the Settlement Hearing to present your objection unless you first file and serve a
written objection in accordance with the procedures described above, unless the Court orders otherwise.
  67. If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the
Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and Litigation Expenses,
and if you timely file and serve a written objection as described above, you must also file a notice of
appearance with the Clerk’s Office so that it is received on or before _________, 2024. Such persons
may be heard orally at the discretion of the Court. Objectors who enter an appearance and desire to present


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evidence at the Settlement Hearing in support of their objection must include in their written objection or
notice of appearance the identity of any witnesses they may call to testify and any exhibits they intend to
introduce into evidence at the hearing.
  68. You are not required to hire an attorney to represent you in making written objections or in
appearing at the Settlement Hearing. However, if you decide to hire an attorney, it will be at your own
expense, and that attorney must file a notice of appearance with the Court so that the notice is received on
or before __________, 2024.
  69. The Settlement Hearing may be adjourned by the Court without further written notice to the
Settlement Class, other than a posting of the adjournment on the case website,
GrandCanyonSecuritiesLitigation.com. If you plan to attend the Settlement Hearing, you should confirm
the date and time with Lead Counsel.
  70. Unless the Court orders otherwise, any Settlement Class Member who does not object in the
manner described above will be deemed to have waived any objection and shall be forever foreclosed
from making any objection to the proposed Settlement, the proposed Plan of Allocation or Lead
Counsel’s motion for attorneys’ fees and Litigation Expenses. Settlement Class Members do not
need to appear at the Settlement Hearing or take any other action to indicate their approval.

                WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

  71. If you purchased Grand Canyon common stock from January 5, 2018 through January 27, 2020,
inclusive, for the beneficial interest of persons or organizations other than yourself, you must either
(a) within seven (7) calendar days of receipt of this Notice, request from the Claims Administrator
sufficient copies of the Notice and Claim Form (the “Notice Packet”) to forward to all such beneficial
owners and within seven (7) calendar days of receipt of those Notice Packets forward them to all such
beneficial owners; or (b) within seven (7) calendar days of receipt of this Notice, provide a list of the
names and addresses of all such beneficial owners to In re Grand Canyon Education, Inc. Securities
Litigation, c/o JND Legal Administration, P.O. Box 91065, Seattle, WA 98111. If you choose the second
option, the Claims Administrator will send a copy of the Notice and the Claim Form to the beneficial
owners. Upon full compliance with these directions, such nominees may seek payment of their reasonable
expenses actually incurred, by providing the Claims Administrator with proper documentation supporting
the expenses for which reimbursement is sought. Copies of this Notice and the Claim Form may also be
obtained       from      the     website      maintained     by      the     Claims      Administrator,
GrandCanyonSecuritiesLitigation.com, or by calling the Claims Administrator toll-free at 1-855-208-
4129.

  CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

  72. This Notice contains only a summary of the terms of the proposed Settlement. For more detailed
information about the matters involved in this Action, you are referred to the papers on file in the Action,
including the Stipulation, which may be reviewed by accessing the Court docket in this case through the
Court’s Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or
by visiting the office of the Clerk of the Court for the United States District Court for the District of
Delaware, J. Caleb Boggs Federal Building and United States Courthouse, 844 North King Street,
Wilmington, DE 19801. Additionally, copies of the Stipulation and any related orders entered by the



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Court will be posted on the                  website        maintained   by   the    Claims     Administrator,
GrandCanyonSecuritiesLitigation.com.
       All inquiries concerning this Notice and the Claim Form should be directed to:
                         In re Grand Canyon Education, Inc. Securities Litigation
                                      c/o JND Legal Administration
                                             P.O. Box 91065
                                            Seattle, WA 98111

                                             855-208-4129
                                   GrandCanyonSecuritiesLitigation.com

                                                       or

               Katherine M. Sinderson                                   Jeffrey W. Golan
          BERNSTEIN LITOWITZ BERGER                              BARRACK, RODOS & BACINE
                & GROSSMANN LLP                                   3300 Two Commerce Square
      1251 Avenue of the Americas, 44th Floor                          2001 Market Street
                New York, NY 10020                                  Philadelphia, PA 19103
                    800-380-8496                                          877-386-3304
              settlements@blbglaw.com                              settlements@barrack.com

          DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE CLERK OF
          THE COURT, DEFENDANTS OR THEIR COUNSEL REGARDING THIS
          NOTICE.

Dated: __________, 2024                                          By Order of the Court
                                                                 United States District Court
                                                                 District of Delaware




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                                                Appendix A

                  PLAN OF ALLOCATION OF THE NET SETTLEMENT FUND

  73. As discussed above, the Settlement provides $25,500,000 in cash for the benefit of the Settlement
Class. The Settlement Amount and any interest it earns constitute the “Settlement Fund.” The Settlement
Fund, after deduction of Court-approved attorneys’ fees and Litigation Expenses, Notice and
Administration Costs, Taxes, and any other fees or expenses approved by the Court, is the “Net Settlement
Fund.” If the Settlement is approved by the Court, the Net Settlement Fund will be distributed to eligible
Authorized Claimants, i.e., members of the Settlement Class who timely submit valid Claim Forms that
are accepted for payment by the Court, in accordance with a plan of allocation to be adopted by the Court.
Settlement Class Members who do not timely submit valid Claim Forms will not share in the Net
Settlement Fund, but will otherwise be bound by the Settlement.
  74. The Plan of Allocation (the “Plan”) set forth herein is the plan that is being proposed to the Court
for approval by Lead Plaintiffs after consultation with their damages expert. The Court may approve the
Plan with or without modification, or approve another plan of allocation, without further notice to the
Settlement Class.        Any Orders regarding a modification to the Plan will be posted to
GrandCanyonRiverSecuritiesLitigation.com. Defendants have had, and will have, no involvement or
responsibility for the terms or application of the Plan.
  75. The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund among
Authorized Claimants who suffered economic losses as a proximate result of the alleged wrongdoing. The
calculations made pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative of,
the amounts that Settlement Class Members might have been able to recover after a trial. Nor are the
calculations pursuant to the Plan of Allocation intended to be estimates of the amounts that will be paid
to Authorized Claimants pursuant to the Settlement. The computations under the Plan of Allocation are
only a method to weigh the claims of Authorized Claimants against one another for the purposes of making
pro rata allocations of the Net Settlement Fund.
  76. The Plan of Allocation was created with the assistance of a consulting damages expert and reflects
the assumption that Defendants’ alleged false and misleading statements and material omissions
proximately caused the price of Grand Canyon common stock to be artificially inflated throughout the
Class Period. In calculating the estimated artificial inflation allegedly caused by Defendants’ alleged
misrepresentations and omissions, Lead Plaintiffs’ damages expert considered price changes in Grand
Canyon common stock in reaction to certain public announcements allegedly revealing the truth
concerning Defendants’ alleged misrepresentations and material omissions, adjusting for price changes
that were attributable to market or industry forces.
  77. In order to have recoverable damages, the disclosure of the allegedly misrepresented information
must be the cause of the decline in the price of Grand Canyon common stock. In this case, Lead Plaintiffs
allege that Defendants made false statements and omitted material facts during the period from January 5,
2018 through January 27, 2020, inclusive, which had the effect of artificially inflating the price of Grand
Canyon common stock. Lead Plaintiffs further allege that corrective information was released to the
market on November 6, 2019, November 7, 2019 and January 28, 2020, which removed the artificial
inflation from the price of Grand Canyon common stock on November 7, 2019 and January 28, 2020.
  78. Recognized Loss Amounts are based primarily on the difference in the amount of alleged artificial
inflation in the prices of Grand Canyon common stock at the time of purchase or acquisition and at the
time of sale, or the difference between the actual purchase price and sale price. Accordingly, in order to


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have a Recognized Loss Amount under the Plan of Allocation, a Settlement Class Member that purchased
or otherwise acquired Grand Canyon common stock during the Class Period must have held those shares
through at least one of the dates where new corrective information was released to the market and partially
removed the artificial inflation from the price of Grand Canyon common stock.
                       CALCULATION OF RECOGNIZED LOSS AMOUNT

  79. Based on the formula stated below, a “Recognized Loss Amount” will be calculated for each
purchase or acquisition of Grand Canyon common stock during the Class Period that is listed on the Claim
Form and for which adequate documentation is provided. If a Recognized Loss Amount calculates to a
negative number or zero under the formula below, that Recognized Loss Amount will be zero.2
  80. For each share of Grand Canyon common stock purchased or otherwise acquired during the Class
Period (that is, the period from January 5, 2018 through and including the close of trading on January 27,
2020), and:
        A.     Sold prior to the close of trading on November 6, 2019, the Recognized Loss Amount will
               be $0.00.

        B.     Sold from November 7, 2019 though and including the close of trading on January 27,
               2020, the Recognized Loss Amount will be the lesser of: (i) the amount of artificial
               inflation per share on the date of purchase/acquisition as stated in Table A below minus the
               amount of artificial inflation per share on the date of sale as stated in Table A below; or
               (ii) the purchase/acquisition price minus the sale price.

        C.     Sold from January 28, 2020 through and including the close of trading on April 24, 2020,
               the Recognized Loss Amount will be the least of: (i) the amount of artificial inflation per
               share on the date of purchase/acquisition as stated in Table A below; (ii) the
               purchase/acquisition price minus the average closing price from January 28, 2020 through
               the date of sale as stated in Table B below; or (iii) the purchase/acquisition price minus the
               sale price.

        D.     Held as of the close of trading on April 24, 2020, the Recognized Loss Amount will be the
               lesser of: (i) the amount of artificial inflation per share on the date of purchase/acquisition
               as stated in Table A below, or (ii) the purchase/acquisition price minus $76.90.3


2
  Any transactions in Grand Canyon common stock executed outside of regular trading hours for the U.S.
financial markets shall be deemed to have occurred during the next regular trading session.
3
  Pursuant to Section 21D(e)(1) of the Exchange Act, “in any private action arising under this title in which
the plaintiff seeks to establish damages by reference to the market price of a security, the award of damages
to the plaintiff shall not exceed the difference between the purchase or sale price paid or received, as
appropriate, by the plaintiff for the subject security and the mean trading price of that security during the
90-day period beginning on the date on which the information correcting the misstatement or omission
that is the basis for the action is disseminated to the market.” Consistent with the requirements of the
Exchange Act, Recognized Loss Amounts are reduced to an appropriate extent by taking into account the
closing prices of Grand Canyon common stock during the “90-day look-back period” from January 28,



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                                      ADDITIONAL PROVISIONS

  81. Calculation of Claimant’s “Recognized Claim”: A Claimant’s “Recognized Claim” will be the
sum of his, her, or its Recognized Loss Amounts as calculated under ¶ 80 above.
  82. FIFO Matching: If a Claimant made more than one purchase/acquisition or sale of Grand Canyon
common stock during the Class Period, all purchases/acquisitions and sales will be matched on a First In,
First Out (“FIFO”) basis. Class Period sales will be matched first against any holdings at the beginning
of the Class Period and then against purchases/acquisitions in chronological order, beginning with the
earliest purchase/acquisition made during the Class Period.
  83. Purchase/Sale Prices: For the purposes of calculations in ¶ 80 above, “purchase/acquisition
price” means the actual price paid, excluding any fees, commissions, and taxes, and “sale price” means
the actual amount received, not deducting any fees, commissions, and taxes.
  84. “Purchase/Acquisition/Sale” Dates: Purchases or acquisitions and sales of Grand Canyon
common stock will be deemed to have occurred on the “contract” or “trade” date as opposed to the
“settlement” or “payment” date. The receipt or grant by gift, inheritance, or operation of law of Grand
Canyon common stock during the Class Period will not be deemed a purchase, acquisition, or sale of
Grand Canyon common stock for the calculation of a Claimant’s Recognized Loss Amount, nor will the
receipt or grant be deemed an assignment of any claim relating to the purchase/acquisition/sale of Grand
Canyon common stock unless (i) the donor or decedent purchased or otherwise acquired or sold such
Grand Canyon common stock during the Class Period; (ii) the instrument of gift or assignment specifically
provides that it is intended to transfer such rights; and (iii) no Claim was submitted by or on behalf of the
donor, on behalf of the decedent, or by anyone else with respect to shares of such shares of Grand Canyon
common stock.
  85. Short Sales: The date of covering a “short sale” is deemed to be the date of purchase or acquisition
of the Grand Canyon common stock. The date of a “short sale” is deemed to be the date of sale of the
Grand Canyon common stock. In accordance with the Plan of Allocation, however, the Recognized Loss
Amount on “short sales” and the purchases covering “short sales” is zero.
  86. In the event that a Claimant has an opening short position in Grand Canyon common stock, the
earliest purchases or acquisitions of Grand Canyon common stock during the Class Period will be matched
against such opening short position, and not be entitled to a recovery, until that short position is fully
covered.
  87. Common Stock Purchased/Sold Through the Exercise of Options: Option contracts are not
securities eligible to participate in the Settlement. With respect to Grand Canyon common stock purchased
or sold through the exercise of an option, the purchase/sale date of the common stock is the exercise date
of the option and the purchase/sale price is the exercise price of the option.
  88. Market Gains and Losses: The Claims Administrator will determine if the Claimant had a
“Market Gain” or a “Market Loss” with respect to his, her, or its overall transactions in Grand Canyon
common stock during the Class Period. For purposes of making this calculation, the Claims Administrator




2020 through April 24, 2020. The mean (average) closing price for Grand Canyon common stock during
this period was $76.90.


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shall determine the difference between (i) the Claimant’s Total Purchase Amount4 and (ii) the sum of the
Claimant’s Total Sales Proceeds5 and the Claimant’s Holding Value.6 If the Claimant’s Total Purchase
Amount minus the sum of the Claimant’s Total Sales Proceeds and the Holding Value is a positive number,
that number will be the Claimant’s Market Loss; if the number is a negative number or zero, that number
will be the Claimant’s Market Gain.
  89. If a Claimant had a Market Gain with respect to his, her, or its overall transactions in Grand Canyon
common stock during the Class Period, the value of the Claimant’s Recognized Claim will be zero, and
the Claimant will in any event be bound by the Settlement. If a Claimant suffered an overall Market Loss
with respect to his, her, or its overall transactions in Grand Canyon common stock during the Class Period
but that Market Loss was less than the Claimant’s Recognized Claim, then the Claimant’s Recognized
Claim will be limited to the amount of the Market Loss.
 90. Determination of Distribution Amount: The Net Settlement Fund will be distributed to
Authorized Claimants on a pro rata basis based on the relative size of their Recognized Claims.
Specifically, a “Distribution Amount” will be calculated for each Authorized Claimant, which will be the
Authorized Claimant’s Recognized Claim divided by the total Recognized Claims of all Authorized
Claimants, multiplied by the total amount in the Net Settlement Fund.
 91. If an Authorized Claimant’s Distribution Amount calculates to less than $10.00, no distribution
will be made to that Authorized Claimant. Those funds will be included in the distribution to Authorized
Claimants whose Distribution Amount is $10.00 or more.
  92. After the initial distribution of the Net Settlement Fund, the Claims Administrator will make
reasonable and diligent efforts to have Authorized Claimants cash their distribution checks. To the extent
any monies remain in the Net Settlement Fund seven (7) months after the initial distribution, if Lead
Counsel, in consultation with the Claims Administrator, determine that it is cost-effective to do so, the
Claims Administrator will conduct a re-distribution of the funds remaining after payment of any unpaid
fees and expenses incurred in administering the Settlement, including for such re-distribution, to
Authorized Claimants who have cashed their initial distributions and who would receive at least $10.00
from such re-distribution. Additional re-distributions to Authorized Claimants who have cashed their
prior checks may occur thereafter if Lead Counsel, in consultation with the Claims Administrator,
determine that additional re-distributions, after the deduction of any additional fees and expenses incurred
in administering the Settlement, including for such re-distributions, would be cost-effective. At such time
as it is determined that the re-distribution of funds remaining in the Net Settlement Fund is not cost-



4
  The “Total Purchase Amount” is the total amount the Claimant paid (excluding all fees, taxes, and
commissions) for all shares of Grand Canyon common stock purchased or acquired during Class Period.
5
  The Claims Administrator shall match any sales of Grand Canyon common stock during the Class Period
first against the Claimant’s opening position in Grand Canyon common stock (the proceeds of those sales
will not be considered for purposes of calculating market gains or losses). The total amount received (not
deducting any fees, taxes and commissions) for sales of the remaining shares of Grand Canyon common
stock sold during the Class Period is the “Total Sales Proceeds.”
6
  The Claims Administrator shall ascribe a “Holding Value” of $84.07 to each share of Grand Canyon
common stock purchased or acquired during the Class Period that was still held as of the close of trading
on January 27, 2020.


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effective, the remaining balance will be contributed to one or more non-sectarian, not-for-profit, 501(c)(3)
organizations to be selected by Lead Counsel and approved by the Court.
  93. Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be approved
by the Court, will be conclusive against all Claimants. No person shall have any claim against Lead
Plaintiffs, Plaintiffs’ Counsel, Lead Plaintiffs’ damages experts, Lead Plaintiffs’ consulting experts,
Defendants, Defendants’ Counsel, or any of the other Plaintiffs’ Releasees or Defendants’ Releasees, or
the Claims Administrator or other agent designated by Lead Counsel arising from distributions made
substantially in accordance with the Stipulation, the plan of allocation approved by the Court, or further
Orders of the Court. Lead Plaintiffs, Defendants, and their respective counsel, and all other Defendants’
Releasees, shall have no responsibility or liability whatsoever for the investment or distribution of the
Settlement Fund or the Net Settlement Fund; the plan of allocation; the determination, administration,
calculation, or payment of any Claim or nonperformance of the Claims Administrator; the payment or
withholding of Taxes; or any losses incurred in connection therewith.




                                                 TABLE A

                   Estimated Artificial Inflation in Grand Canyon Common Stock
                             January 5, 2018 through January 27, 2020
                                                                          Estimated Artificial
                            Date Range
                                                                          Inflation Per Share
              January 5, 2018 to November 6, 2019                                 $13.66
              November 7, 2019 to January 27, 2020                                 $9.17
                    January 28, 2020 and later                                     $0.00




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                                                 TABLE B


                     90-Day Look-back Table for Grand Canyon Common Stock
                             Closing Price and Average Closing Price
                             January 28, 2020 through April 24, 2020
                                  Average Closing                                       Average Closing
                                     Price from                                            Price from
                                  January 28, 2020                                      January 28, 2020
                     Closing        through Date                           Closing        through Date
        Date          Price            Shown                  Date          Price            Shown
     1/28/2020       $84.07            $84.07              3/12/2020       $71.67            $81.25
     1/29/2020       $84.53            $84.30              3/13/2020       $75.99            $81.09
     1/30/2020       $80.90            $83.17              3/16/2020       $66.80            $80.67
     1/31/2020       $78.28            $81.95              3/17/2020       $64.47            $80.21
      2/3/2020       $78.76            $81.31              3/18/2020       $59.33            $79.63
      2/4/2020       $76.97            $80.59              3/19/2020       $60.99            $79.13
      2/5/2020       $82.53            $80.86              3/20/2020       $60.79            $78.64
      2/6/2020       $81.27            $80.91              3/23/2020       $61.67            $78.21
      2/7/2020       $80.62            $80.88              3/24/2020       $68.19            $77.96
     2/10/2020       $80.69            $80.86              3/25/2020       $68.50            $77.73
     2/11/2020       $80.59            $80.84              3/26/2020       $72.54            $77.60
     2/12/2020       $84.17            $81.12              3/27/2020       $71.23            $77.46
     2/13/2020       $84.42            $81.37              3/30/2020       $75.24            $77.41
     2/14/2020       $87.49            $81.81              3/31/2020       $76.29            $77.38
     2/18/2020       $85.91            $82.08               4/1/2020       $72.94            $77.28
     2/19/2020       $86.93            $82.38               4/2/2020       $71.50            $77.16
     2/20/2020       $82.23            $82.37               4/3/2020       $71.26            $77.04
     2/21/2020       $83.88            $82.46               4/6/2020       $73.25            $76.96
     2/24/2020       $80.57            $82.36               4/7/2020       $73.20            $76.89
     2/25/2020       $81.68            $82.32               4/8/2020       $75.47            $76.86
     2/26/2020       $81.00            $82.26               4/9/2020       $76.30            $76.85
     2/27/2020       $81.94            $82.25              4/13/2020       $75.80            $76.83
     2/28/2020       $80.68            $82.18              4/14/2020       $78.27            $76.85
      3/2/2020       $79.73            $82.08              4/15/2020       $75.15            $76.82
      3/3/2020       $78.51            $81.93              4/16/2020       $75.70            $76.80
      3/4/2020       $82.91            $81.97              4/17/2020       $80.08            $76.86
      3/5/2020       $81.76            $81.96              4/20/2020       $77.70            $76.87
      3/6/2020       $83.74            $82.03              4/21/2020       $75.32            $76.85
      3/9/2020       $77.92            $81.89              4/22/2020       $78.22            $76.87
     3/10/2020       $78.52            $81.77              4/23/2020       $78.14            $76.89
     3/11/2020       $75.23            $81.56              4/24/2020       $77.54            $76.90




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                        Exhibit 2
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                                                                                                        Exhibit 2

                            In re Grand Canyon Education, Inc. Securities Litigation
                                      Toll-Free Number: (855) 208-4129
                             Email: info@GrandCanyonSecuritiesLitigation.com
                                Website: GrandCanyonSecuritiesLitigation.com



                PROOF OF CLAIM AND RELEASE FORM

To be eligible to receive a share of the Net Settlement Fund in connection with the Settlement of this Action, you
must complete and sign this Proof of Claim and Release Form (“Claim Form”) and mail it by first-class mail to
the address below, or submit it online at GrandCanyonSecuritiesLitigation.com, with supporting documentation,
postmarked (if mailed) or received no later than __________, 2024.

               Mail to:
                                In re Grand Canyon Education, Inc.
                                        Securities Litigation
                                   c/o JND Legal Administration
                                          P.O. Box 91065
                                         Seattle, WA 98111
 Failure to submit your Claim Form by the date specified will subject your claim to rejection and may preclude
                you from being eligible to receive any money in connection with the Settlement.

Do not mail or deliver your Claim Form to the Court, the Parties to the Action, or their counsel. Submit
your Claim Form only to the Claims Administrator at the address set forth above.

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                                                PART I – CLAIMANT INFORMATION

The Claims Administrator will use this information for all communications regarding this Claim Form. If this
information changes, you MUST notify the Claims Administrator in writing at the address above. Complete
names of all persons and entities must be provided.
 Beneficial Owner’s Name
 First Name                                                       Last Name



 Joint Beneficial Owner’s Name (if applicable)
 First Name                                                       Last Name



 If this claim is submitted for an IRA, and if you would like any check that you MAY be eligible to receive made payable to the IRA, please include
 “IRA” in the “Last Name” box above (e.g., Jones IRA).

 Entity Name (if the Beneficial Owner is not an individual)



 Name of Representative, if applicable (executor, administrator, trustee, c/o, etc.), if different from Beneficial Owner



 Last 4 digits of Social Security Number or Taxpayer Identification Number



 Street Address



 Address (Second line, if needed)



 City                                                                                     State/Province    Zip Code



 Foreign Postal Code (if applicable)                               Foreign Country (if applicable)



 Telephone Number (Day)                                                   Telephone Number (Evening)



 Email Address (email address is not required, but if you provide it you authorize the Claims Administrator to use it in providing you with information
 relevant to this claim):


Type of Beneficial Owner:
Specify one of the following:
      Individual(s)                    Corporation                UGMA Custodian                IRA

        Partnership                    Estate                     Trust                         Other (describe: _______________________)



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                                    PART II – GENERAL INSTRUCTIONS

        1.      It is important that you completely read the Notice of (I) Pendency of Class Action and Proposed
Settlement; (II) Settlement Hearing; and (III) Motion for Attorneys’ Fees and Litigation Expenses (the “Notice”)
that accompanies this Claim Form, including the Plan of Allocation of the Net Settlement Fund set forth in the
Notice. The Notice describes the proposed Settlement, how Settlement Class Members are affected by the
Settlement, and the manner in which the Net Settlement Fund will be distributed if the Settlement and Plan of
Allocation are approved by the Court. The Notice also contains the definitions of many of the defined terms
(which are indicated by initial capital letters) used in this Claim Form. By signing and submitting this Claim
Form, you will be certifying that you have read and that you understand the Notice, including the terms of the
releases described therein and provided for herein.

       2.      By submitting this Claim Form, you will be making a request to share in the proceeds of the
Settlement described in the Notice. If you are not a Settlement Class Member (see the definition of the Settlement
Class on page [__] of the Notice), or if you, or someone acting on your behalf, submitted a request for exclusion
from the Settlement Class, do not submit a Claim Form. You may not, directly or indirectly, participate in
the Settlement if you are not a Settlement Class Member. Thus, if you are excluded from the Settlement Class,
any Claim Form that you submit, or that may be submitted on your behalf, will not be accepted.

        3.    Submission of this Claim Form does not guarantee that you will share in the proceeds of the
Settlement. The distribution of the Net Settlement Fund will be governed by the Plan of Allocation set
forth in the Notice or by such other plan of allocation as the Court approves.

         4.      On the Schedule of Transactions in Part III of this Claim Form, provide all of the requested
information with respect to your holdings, purchases, acquisitions, and sales of Grand Canyon Education, Inc.
(“Grand Canyon”) common stock (including free transfers and deliveries), whether such transactions resulted in
a profit or a loss. Failure to report all transaction and holding information during the requested time period
may result in the rejection of your claim.

        5.     Please note: Only purchases of Grand Canyon common stock from January 5, 2018 through
January 27, 2020, inclusive, are eligible under the Settlement and the proposed Plan of Allocation set forth in the
Notice. However, under the “90-day look-back period” (described in the Plan of Allocation), sales of Grand
Canyon common stock during the period from January 28, 2020 through the close of trading on April 24, 2020
will be used for purposes of calculating Recognized Loss Amounts under the Plan of Allocation. Therefore, in
order for the Claims Administrator to be able to balance your claim, the requested purchase information during
this period must also be provided.

         6.     You are required to submit genuine and sufficient documentation for all of your transactions in
and holdings of Grand Canyon common stock set forth in the Schedule of Transactions in Part III. Documentation
may consist of copies of brokerage confirmation slips or monthly brokerage account statements, or an authorized
statement from your broker containing the transactional and holding information found in a broker confirmation
slip or account statement. The Parties and the Claims Administrator do not independently have information about
your investments in Grand Canyon common stock. IF SUCH DOCUMENTS ARE NOT IN YOUR
POSSESSION, PLEASE OBTAIN COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS
FROM YOUR BROKER. FAILURE TO SUPPLY THIS DOCUMENTATION MAY RESULT IN THE
REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL DOCUMENTS.



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       7.     Please keep a copy of all documents that you send to the Claims Administrator. Also, do not
highlight any portion of the Claim Form or any supporting documents.

        8.     Use Part I of this Claim Form entitled “CLAIMANT INFORMATION” to identify the beneficial
owner(s) of Grand Canyon common stock. The complete name(s) of the beneficial owner(s) must be entered. If
you held the Grand Canyon common stock in your own name, you were the beneficial owner as well as the record
owner. If, however, your shares of Grand Canyon common stock were registered in the name of a third party,
such as a nominee or brokerage firm, you were the beneficial owner of these shares, but the third party was the
record owner. The beneficial owner, not the record owner, must sign this Claim Form to be eligible to participate
in the Settlement. If there were joint beneficial owners each must sign this Claim Form and their names must
appear as “Claimants” in Part I of this Claim Form.

        9.      One Claim should be submitted for each separate legal entity or separately managed
account. Separate Claim Forms should be submitted for each separate legal entity (e.g., an individual should not
combine his or her IRA transactions with transactions made solely in the individual’s name). Generally, a single
Claim Form should be submitted on behalf of one legal entity including all holdings and transactions made by
that entity on one Claim Form. However, if a single person or legal entity had multiple accounts that were
separately managed, separate Claims may be submitted for each such account. The Claims Administrator reserves
the right to request information on all the holdings and transactions in Grand Canyon common stock made on
behalf of a single beneficial owner.

       10.     Agents, executors, administrators, guardians, and trustees must complete and sign the Claim Form
on behalf of persons represented by them, and they must:
               (a)     expressly state the capacity in which they are acting;
               (b)     identify the name, account number, Social Security Number (or taxpayer identification
                       number), address, and telephone number of the beneficial owner of (or other person or
                       entity on whose behalf they are acting with respect to) the Grand Canyon common stock;
                       and
               (c)     furnish herewith evidence of their authority to bind to the Claim Form the person or entity
                       on whose behalf they are acting. (Authority to complete and sign a Claim Form cannot be
                       established by stockbrokers demonstrating only that they have discretionary authority to
                       trade securities in another person’s accounts.)

       11.     By submitting a signed Claim Form, you will be swearing that you:
               (a)     own(ed) the Grand Canyon common stock you have listed in the Claim Form; or
               (b)     are expressly authorized to act on behalf of the owner thereof.

        12.    By submitting a signed Claim Form, you will be swearing to the truth of the statements contained
therein and the genuineness of the documents attached thereto, subject to penalties of perjury under the laws of
the United States of America. The making of false statements, or the submission of forged or fraudulent
documentation, will result in the rejection of your claim and may subject you to civil liability or criminal
prosecution.

        13.    Payments to eligible Authorized Claimants will be made only if the Court approves the Settlement,
after any appeals are resolved, and after the completion of all claims processing.


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        14.      PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive
his, her, or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized Claimant
calculates to less than $10.00, it will not be included in the calculation, and no distribution will be made to that
Authorized Claimant.

       15.     If you have questions concerning the Claim Form, or need additional copies of the Claim Form or
the Notice, you may contact the Claims Administrator, JND Legal Administration, at the above address, by email
at info@GrandCanyonSecuritiesLitigation.com, or by toll-free phone at (855) 208-4129, or you can visit the
website, GrandCanyonSecuritiesLitigation.com, where copies of the Claim Form and Notice are available for
downloading.

        16.     NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of
transactions may request, or may be requested, to submit information regarding their transactions in electronic
files. To obtain the mandatory electronic filing requirements and file layout, you may visit the settlement website
at GrandCanyonSecuritiesLitigation.com or you may email the Claims Administrator’s electronic filing
department at info@GrandCanyonSecuritiesLitigation.com. Any file not in accordance with the required
electronic filing format will be subject to rejection. The complete name of the beneficial owner of the securities
must be entered where called for (see ¶ 8 above). No electronic files will be considered to have been submitted
unless the Claims Administrator issues an email confirming receipt of your submission. Do not assume that
your file has been received until you receive that email. If you do not receive such an email within 10 days
of     your     submission,     you     should      contact    the      electronic   filing      department      at
info@GrandCanyonSecuritiesLitigation.com to inquire about your file and confirm it was received.



                                        IMPORTANT: PLEASE NOTE
YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT
POSTCARD. THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR
CLAIM FORM BY MAIL, WITHIN 60 DAYS.       IF YOU DO NOT RECEIVE AN
ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS, CALL THE CLAIMS ADMINISTRATOR
TOLL FREE AT (855) 208-4129.




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       PART III – SCHEDULE OF TRANSACTIONS IN GRAND CANYON COMMON STOCK
The only eligible security is Grand Canyon Education, Inc. (“Grand Canyon”) common stock (Ticker:
NASDAQ: LOPE, CUSIP: 38526M106). Do not include information regarding any other securities. Please
include proper documentation with your Claim Form as described in Part II – General Instructions, ¶ 6, above.
1. HOLDINGS AS OF JANUARY 5, 2018 – State the total number of shares of Grand Canyon                Confirm Proof of
common stock held as of the opening of trading on January 5, 2018. (Must be documented.) If         Position Enclosed
none, write “zero” or “0.” ________________                                                                □
2. PURCHASES/ACQUISITIONS FROM JANUARY 5, 2018 THROUGH JANUARY 27, 2020 – Separately list
each and every purchase or acquisition (including free receipts) of Grand Canyon common stock from January 5, 2018
through the close of trading on January 27, 2020. (Must be documented.)
   Date of Purchase/       Number of Shares      Purchase/Acquisition          Total Purchase/      Confirm Proof of
      Acquisition         Purchased/Acquired        Price Per Share           Acquisition Price        Purchase/
(List Chronologically)                                                      (excluding any taxes,     Acquisition
  (Month/Day/Year)                                                         commissions, and fees)      Enclosed

        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
3. PURCHASES/ACQUISITIONS FROM JANUARY 28, 2020 THROUGH APRIL 24, 2020 – State the total
number of shares of Grand Canyon common stock purchased or acquired (including free receipts) from January 28, 2020
through the close of trading on April 24, 2020. If none, write “zero” or “0.” ____________________
4. SALES FROM JANUARY 5, 2018 THROUGH APRIL 24, 2020 – Separately list each and                      IF NONE,
every sale or disposition (including free deliveries) of Grand Canyon common stock from January    CHECK HERE
5, 2018 through the close of trading on April 24, 2020. (Must be documented.)                            □
     Date of Sale            Number of               Sale Price              Total Sale Price        Confirm Proof
(List Chronologically)       Shares Sold             Per Share          (not deducting any taxes,   of Sale Enclosed
  (Month/Day/Year)                                                       commissions, and fees)

        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
        /    /                                 $                       $                                   □
5. HOLDINGS AS OF APRIL 24, 2020 – State the total number of shares of Grand Canyon                 Confirm Proof of
common stock held as of the close of trading on April 24, 2020. (Must be documented.) If none,      Position Enclosed
write “zero” or “0.” ________________                                                                      □
IF YOU REQUIRE ADDITIONAL SPACE FOR THE SCHEDULE ABOVE, ATTACH EXTRA
SCHEDULES IN THE SAME FORMAT. PRINT THE BENEFICIAL OWNER’S FULL NAME AND
LAST FOUR DIGITS OF SOCIAL SECURITY/TAXPAYER IDENTIFICATION NUMBER ON EACH
ADDITIONAL PAGE. IF YOU DO ATTACH EXTRA SCHEDULES, CHECK THIS BOX.


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                           PART IV – RELEASE OF CLAIMS AND SIGNATURE

 YOU MUST ALSO READ THE RELEASE AND CERTIFICATION BELOW AND SIGN ON PAGE [ ]
                            OF THIS CLAIM FORM.

I (we) hereby acknowledge that, pursuant to the terms set forth in the Stipulation, without further action by
anyone, upon the Effective Date of the Settlement, I (we), on behalf of myself (ourselves) and my (our) (the
claimant(s)’) heirs, executors, administrators, predecessors, successors, and assigns, in their capacities as such,
shall be deemed to have, and by operation of law and of the judgment shall have, fully, finally, and forever
compromised, settled, released, resolved, relinquished, waived, and discharged each and every Released
Plaintiffs’ Claim against Defendants and the other Defendants’ Releasees, and shall forever be barred and
enjoined from prosecuting any or all of the Released Plaintiffs’ Claims against any of the Defendants’ Releasees.

CERTIFICATION

By signing and submitting this Claim Form, the claimant(s) or the person(s) who represent(s) the claimant(s)
agree(s) to the release above and certifies (certify) as follows:
        1.      that I (we) have read and understand the contents of the Notice and this Claim Form, including
the releases provided for in the Settlement and the terms of the Plan of Allocation;
       2.     that the claimant(s) is a (are) Settlement Class Member(s), as defined in the Notice, and is (are)
not excluded by definition from the Settlement Class as set forth in the Notice;
       3.      that the claimant(s) did not submit a request for exclusion from the Settlement Class;
        4.     that I (we) own(ed) the Grand Canyon common stock identified in the Claim Form and have not
assigned the claim against any of the Defendants or any of the other Defendants’ Releasees to another, or that,
in signing and submitting this Claim Form, I (we) have the authority to act on behalf of the owner(s) thereof;
       5.      that the claimant(s) has (have) not submitted any other claim covering the same purchases of
Grand Canyon common stock and knows (know) of no other person having done so on the claimant’s
(claimants’) behalf;
       6.      that the claimant(s) submit(s) to the jurisdiction of the Court with respect to claimant’s
(claimants’) claim and for purposes of enforcing the releases set forth herein;
      7.      that I (we) agree to furnish such additional information with respect to this Claim Form as Lead
Counsel, the Claims Administrator, or the Court may require;
        8.     that the claimant(s) waive(s) the right to trial by jury, to the extent it exists, and agree(s) to the
determination by the Court of the validity or amount of this Claim, and waive(s) any right of appeal or review
with respect to such determination;
      9.      that I (we) acknowledge that the claimant(s) will be bound by and subject to the terms of any
judgment(s) that may be entered in the Action; and




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         10.     that the claimant(s) is (are) NOT subject to backup withholding under the provisions of Section
3406(a)(1)(C) of the Internal Revenue Code because (i) the claimant(s) is (are) exempt from backup withholding
or (ii) the claimant(s) has (have) not been notified by the IRS that he, she, or it is subject to backup withholding
as a result of a failure to report all interest or dividends or (iii) the IRS has notified the claimant(s) that he, she,
or it is no longer subject to backup withholding. If the IRS has notified the claimant(s) that he, she, it, or
they is (are) subject to backup withholding, please strike out the language in the preceding sentence
indicating that the claim is not subject to backup withholding in the certification above.

UNDER THE PENALTIES OF PERJURY, I (WE) CERTIFY THAT ALL OF THE INFORMATION
PROVIDED BY ME (US) ON THIS CLAIM FORM IS TRUE, CORRECT, AND COMPLETE, AND THAT
THE DOCUMENTS SUBMITTED HEREWITH ARE TRUE AND CORRECT COPIES OF WHAT THEY
PURPORT TO BE.


Signature of claimant                                                                                    Date


Print claimant name here


Signature of joint claimant, if any                                                                      Date


Print joint claimant name here



If the claimant is other than an individual, or is not the person completing this form, the following also must
be provided:



Signature of person signing on behalf of claimant                                                        Date


Print name of person signing on behalf of claimant here


Capacity of person signing on behalf of claimant, if other than an individual, e.g., executor, president, trustee,
custodian, etc. (Must provide evidence of authority to act on behalf of claimant – see ¶ 10 on page 4 of this Claim
Form.)




Questions? Visit GrandCanyonSecuritiesLitigation.com or call toll-free (855) 208-4129                      Page 8 of 9
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                                           REMINDER CHECKLIST

1. Sign the above release and certification. If this Claim Form is being made on behalf of joint claimants, then
   both must sign.
2. Attach only copies of acceptable supporting documentation as these documents will not be returned to you.
3. Do not highlight any portion of the Claim Form or any supporting documents.
4. Keep copies of the completed Claim Form and documentation for your own records.
5. The Claims Administrator will acknowledge receipt of your Claim Form by mail, within 60 days. Your claim
   is not deemed filed until you receive an acknowledgement postcard. If you do not receive an
   acknowledgement postcard within 60 days, please call the Claims Administrator toll free at (855) 208-
   4129.
6. If your address changes in the future, or if this Claim Form was sent to an old or incorrect address, you must
   send the Claims Administrator written notification of your new address. If you change your name, inform the
   Claims Administrator.
7. If you have any questions or concerns regarding your claim, contact the Claims Administrator at the address
   below, by email at info@GrandCanyonSecuritiesLitigation.com, or by toll-free phone at (855) 208-4129, or
   you may visit GrandCanyonSecuritiesLitigation.com. DO NOT call Grand Canyon or its counsel with
   questions regarding your claim.

THIS CLAIM FORM MUST BE MAILED TO THE CLAIMS ADMINISTRATOR BY FIRST-CLASS MAIL
OR SUBMITTED ONLINE AT GRANDCANYONECURITIESLITIGATION.COM, POSTMARKED (OR
RECEIVED) NO LATER THAN _______, 2024. IF MAILED, THE CLAIM FORM SHOULD BE
ADDRESSED AS FOLLOWS:

                        In re Grand Canyon Education, Inc. Securities Litigation
                                     c/o JND Legal Administration
                                            P.O. Box 91065
                                           Seattle, WA 9811
        A Claim Form received by the Claims Administrator shall be deemed to have been submitted when posted,
if a postmark date on or before __________, 2024, is indicated on the envelope and it is mailed First Class, and
addressed in accordance with the above instructions. In all other cases, a Claim Form shall be deemed to have
been submitted when actually received by the Claims Administrator.

       You should be aware that it will take a significant amount of time to fully process all of the Claim Forms.
Please be patient and notify the Claims Administrator of any change of address.

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Questions? Visit GrandCanyonSecuritiesLitigation.com or call toll-free (855) 208-4129                Page 9 of 9
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                        Exhibit 3
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                                                                                          Exhibit 3

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


     In re Grand Canyon Education, Inc. Securities Civil Action No. 20-639-JLH-CJB
     Litigation



                 SUMMARY NOTICE OF (I) PENDENCY OF CLASS ACTION
            AND PROPOSED SETTLEMENT; (II) SETTLEMENT HEARING; AND
           (III) MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES

      TO: All persons and entities who purchased the common stock of Grand Canyon
          Education, Inc. (“Grand Canyon” or the “Company”) during the period from
          January 5, 2018 through January 27, 2020, inclusive (the “Class Period”), and
          who were damaged thereby (the “Settlement Class”)1:

 PLEASE READ THIS NOTICE CAREFULLY. YOUR RIGHTS WILL BE AFFECTED
 BY A CLASS ACTION LAWSUIT PENDING IN THIS COURT.

        YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil
 Procedure and an Order of the United States District Court for the District of Delaware (the
 “Court”), that the above-captioned securities class action (the “Action”) is pending in the Court.

         YOU ARE ALSO NOTIFIED that Lead Plaintiffs Fire and Police Pension Association of
 Colorado, Oakland County Employees’ Retirement System, and Oakland County Voluntary
 Employees’ Beneficiary Association Trust (together, “Lead Plaintiffs”), on behalf of themselves
 and the Settlement Class, have reached a proposed settlement of the Action for $25,500,000 in
 cash (the “Settlement”). If approved, the Settlement will resolve all claims in the Action.

         The Action involves allegations that Grand Canyon and certain of its senior officers
 violated federal securities laws. Lead Plaintiffs allege, among other things, that Grand Canyon,
 Grand Canyon’s Chief Executive Officer Brian E. Mueller, and Grand Canyon’s Chief Financial
 Officer Daniel E. Bachus made material misrepresentations and omissions during the Class Period
 about Grand Canyon’s 2018 sale of Grand Canyon University, a for-profit university it owned and
 operated, to an entity organized as an Arizona nonprofit corporation, in violation of Section 10(b)
 of the Securities Exchange Act of 1934 (the “Exchange Act”), and that the executive defendants
 controlled Grand Canyon when the misstatements were made, in violation of Section 20(a) of the


 1
   Certain persons and entities are excluded from the Settlement Class by definition, as set forth in
 the full Notice of (I) Pendency of Class Action and Proposed Settlement; (II) Settlement Hearing;
 and (III) Motion for Attorneys’ Fees and Litigation Expenses (the “Notice”), available at
 GrandCanyonSecuritiesLitigation.com.
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 Exchange Act. Defendants2 deny all allegations in the Action and deny any violations of the
 federal securities laws. Issues and defenses at issue in the Action included, among others,
 (i) whether Defendants made materially false statements or omissions; (ii) whether Defendants
 made the statements with the required state of mind; (iii) whether the alleged misstatements caused
 class members’ losses; and (iv) the amount of damages, if any.
          A hearing will be held on __________, 2024, at __:00 __.m., before the Honorable
 Jennifer L. Hall of the United States District Court for the District of Delaware, in Courtroom 6D
 of the J. Caleb Boggs Federal Building and United States Courthouse, 844 North King Street,
 Wilmington, DE 19801, to determine: (i) whether the proposed Settlement should be approved as
 fair, reasonable, and adequate; (ii) whether, for purposes of the proposed Settlement only, the
 Action should be certified as a class action on behalf of the Settlement Class, Lead Plaintiffs should
 be certified as Class Representatives for the Settlement Class, and Lead Counsel should be
 appointed as Class Counsel for the Settlement Class; (iii) whether the Action should be dismissed
 with prejudice against Defendants, and the Releases specified and described in the Stipulation (and
 in the Notice) should be granted; (iv) whether the proposed Plan of Allocation should be approved
 as fair and reasonable; and (v) whether Lead Counsel’s application for an award of attorneys’ fees
 and expenses should be approved.

         If you are a member of the Settlement Class, your rights will be affected by the
 pending Action and the Settlement, and you may be entitled to share in the Net Settlement
 Fund. If you have not yet received the Notice and the Proof of Claim and Release Form (“Claim
 Form”), you may obtain copies of these documents by contacting the Claims Administrator at:
 Grand Canyon Education Securities Litigation, c/o JND Legal Administration, P.O. 91065,
 Seattle, WA 98111; (855) 208-4129; info@GrandCanyonSecuritiesLitigation.com. Copies of the
 Notice and Claim Form can also be downloaded from the Settlement website,
 GrandCanyonSecuritiesLitigation.com.

        If you are a member of the Settlement Class, in order to be eligible to receive a payment
 from the Settlement, you must submit a Claim Form postmarked (if mailed) or online by no later
 than _________, 2024. If you are a Settlement Class Member and do not submit a proper Claim
 Form, you will not be eligible to receive a payment from the Settlement, but you will nevertheless
 be bound by any judgments or orders entered by the Court in the Action.

        If you are a member of the Settlement Class and wish to exclude yourself from the
 Settlement Class, you must submit a request for exclusion such that it is received no later than
 _________, 2024, in accordance with the instructions set forth in the Notice. If you properly
 exclude yourself from the Settlement Class, you will not be bound by any judgments or orders
 entered by the Court in the Action and you will not be eligible to receive a payment from the
 Settlement.

       Any objections to the proposed Settlement, the proposed Plan of Allocation, or Lead
 Counsel’s motion for attorneys’ fees and expenses must be filed with the Court and delivered to

 2
  Capitalized terms not otherwise defined herein shall have the same meaning as in the Stipulation
 and Agreement of Settlement dated March 25, 2024 (“Stipulation”). The Stipulation can be
 viewed and/or obtained at GrandCanyonSecuritiesLitigation.com. .


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 Lead Counsel and Defendants’ Counsel such that they are received no later than _______, 2024,
 in accordance with the instructions set forth in the Notice.

         Please do not contact the Court, the Office of the Clerk of the Court, Defendants, or
 their counsel regarding this notice. All questions about this notice, the proposed Settlement,
 or your eligibility to participate in the Settlement should be directed to the Claims
 Administrator or Lead Counsel.

        Requests for the Notice and Claim Form should be made to:

                              Grand Canyon Securities Litigation
                                c/o JND Legal Administration
                                       P.O. Box 91065
                                      Seattle, WA 98111

                                        (855) 208-4129
                          info@GrandCanyonSecuritiesLitigation.com
                             GrandCanyonSecuritiesLitigation.com

       Inquiries, other than requests for the Notice and Claim Form, should be made to Lead
 Counsel:

                Katherine M. Sinderson                             Jeffrey W. Golan
      Bernstein Litowitz Berger & Grossmann LLP                Barrack, Rodos & Bacine
       1251 Avenue of the Americas, 44th Floor               3300 Two Commerce Square
                 New York, NY 10020                               2001 Market Street
                     (800) 380-8496                             Philadelphia, PA 19103
               settlements@blbglaw.com                               877-386-3304
                                                              settlements@barrack.com


 By Order of the Court


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